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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


KELVIN LEON JONES et al.,

                  Plaintiffs,
                                                     CONSOLIDATED
v.                                                   CASE NO. 4:19cv300-RH/MJF

RON DeSANTIS et al.,

                  Defendants.

_________________________________________/


                                         OPINION ON THE MERITS


         The State of Florida has adopted a system under which nearly a million

otherwise-eligible citizens will be allowed to vote only if they pay an amount of

money. Most of the citizens lack the financial resources to make the required

payment. Many do not know, and some will not be able to find out, how much they

must pay. For most, the required payment will consist only of charges the State

imposed to fund government operations—taxes in substance though not in name.

         The State is on pace to complete its initial screening of the citizens by 2026,

or perhaps later, and only then will have an initial opinion about which citizens

must pay, and how much they must pay, to be allowed to vote. In the meantime,


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year after year, federal and state elections will pass. The uncertainty will cause

some citizens who are eligible to vote, even on the State’s own view of the law, not

to vote, lest they risk criminal prosecution.

         This pay-to-vote system would be universally decried as unconstitutional but

for one thing: each citizen at issue was convicted, at some point in the past, of a

felony offense. A state may disenfranchise felons and impose conditions on their

reenfranchisement. But the conditions must pass constitutional scrutiny. Whatever

might be said of a rationally constructed system, this one falls short in substantial

respects.

         The United States Court of Appeals for the Eleventh Circuit has already

ruled, in affirming a preliminary injunction in this very case, that the State cannot

condition voting on payment of an amount a person is genuinely unable to pay. See

Jones v. Governor of Fla., 950 F.3d 795 (11th Cir. 2020). Now, after a full trial on

the merits, the plaintiffs’ evidence has grown stronger. This order holds that the

State can condition voting on payment of fines and restitution that a person is able

to pay but cannot condition voting on payment of amounts a person is unable to

pay or on payment of taxes, even those labeled fees or costs. This order puts in

place administrative procedures that comport with the Constitution and are less

burdensome, on both the State and the citizens, than those the State is currently

using to administer the unconstitutional pay-to-vote system.



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I. The Consolidated Cases

         These are five consolidated cases. The plaintiffs assert the requirement to

pay to vote is unconstitutional across the board or alternatively as applied to those

who are unable to pay the amount at issue. There are differences from one case to

another in the plaintiffs’ legal theories and in the named defendants. All the

defendants are named only in their official capacities.

         In No. 4:19cv301, the plaintiffs are Bonnie Raysor, Diane Sherrill, and Lee

Hoffman, individually and on behalf of a class and subclass. The defendants are

the Florida Secretary of State and, under a consented amendment, 1 the

Hillsborough County Supervisor of Elections. These plaintiffs assert the pay-to-

vote system violates the Twenty-Fourth Amendment, which prohibits a state from

denying or abridging the right to vote in a federal election by reason of failure to

pay “any poll tax or other tax.” On this claim the plaintiffs represent a class of all

persons who would be eligible to vote in Florida but for unpaid financial

obligations, with this exception: named plaintiffs in the other consolidated cases

are excluded from the class.

         These plaintiffs also assert the pay-to-vote system discriminates against

citizens who are unable to pay and thus violates the Equal Protection Clause. On

this claim the plaintiffs represent a subclass of all persons who would be eligible to


1
    See ECF No. 18 in 4:19cv301.

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vote in Florida but for unpaid financial obligations that the person asserts the

person is genuinely unable to pay, again excluding other named plaintiffs.

         Finally, these plaintiffs assert, but not on behalf of a class, that the pay-to-

vote system is void for vagueness, denies procedural due process, and violates the

National Voter Registration Act, 52 U.S.C. § 20501 et seq.

         In No. 4:19cv302, the plaintiffs are 12 individuals and 3 organizations. The

individuals are Jeff Gruver, Emory Marquis Mitchell, Betty Riddle, Karen Leicht,

Keith Ivey, Kristopher Wrench, Raquel L. Wright, Steven Phalen, Jermaine Miller,

Clifford Tyson, Latoya A. Moreland, and Curtis D. Bryant. The organizations are

the League of Women Voters of Florida, the Florida State Conference of the

NAACP, and the Orange County Branch of the NAACP. The defendants are the

Secretary of State and the Supervisors of Elections of Alachua, Broward, Duval,

Hillsborough, Indian River, Leon, Manantee, Miami-Dade, Orange, and Sarasota

Counties.

         These plaintiffs assert the pay-to-vote system discriminates against citizens

who are unable to pay in violation of the Due Process and Equal Protection

Clauses. They assert the State has failed to provide uniform guidance and that the

pay-to-vote system thus is being applied inconsistently in different counties,

violating the principle established by Bush v. Gore, 531 U.S. 98 (2000). The

plaintiffs assert the pay-to-vote system violates the Fourteenth Amendment



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because determining the amount that must be paid to vote imposes an unwarranted

burden on potential voters. The plaintiffs assert the pay-to-vote system imposes an

unconstitutional “poll tax or other tax,” is unconstitutionally vague, denies

procedural due process, unduly burdens political speech and associational rights in

violation of the First Amendment, is racially discriminatory, and violates the

National Voter Registration Act. The plaintiffs originally asserted, but now have

abandoned, a claim under the Ex Post Facto Clause.

         In No. 4:19cv304, the plaintiffs are Rosemary Osborne McCoy and Sheila

Singleton. The defendants are the Governor of Florida, the Secretary of State, and

the Duval County Supervisor of Elections. The plaintiffs assert the pay-to-vote

system discriminates against citizens who are unable to pay in violation of the

Equal Protection Clause. They assert the system violates the Twenty-Fourth

Amendment, discriminates based on gender, denies procedural due process, is void

for vagueness, and violates the Eighth Amendment’s ban on excessive fines.

         In No. 4:19cv272, the plaintiff is Luis Mendez. In No. 4:19cv300, the

plaintiff is Kelvin Leon Jones. In both cases, the defendants are the Governor, the

Secretary of State, and the Hillsborough County Supervisor of Elections. Mr.

Mendez and Mr. Jones have not participated since early in the litigation and did not

appear at trial. This order dismisses their claims without prejudice and, as the State




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agreed on the record would be proper, restores them to the plaintiff class and

subclass.2

           The Governor and Secretary of State are the defendants who speak for the

State of Florida in this litigation. They have consistently taken the same positions.

For convenience, this order sometimes refers to them collectively as “the State.”

           The cases were originally consolidated for case-management purposes, but

they have now been tried together. This order consolidates the cases for all

purposes, sets out the court’s findings of fact and conclusions of law, enters an

injunction, and directs the entry of judgment.

II. Disenfranchisement, Amendment 4, and SB7066

           Beginning in 1838, Florida’s Constitution allowed the Legislature to

disenfranchise felons. 3 The Legislature enacted a disenfranchisement provision at

least as early as 1845. 4

           A state’s authority to do this is beyond question. In Richardson v. Ramirez,

418 U.S. 24 (1974), the Supreme Court read an apportionment provision in section

2 of the Fourteenth Amendment as authority for states to disenfranchise felons. As

Justice O’Connor, speaking for the Ninth Circuit, later said, “it is not obvious”


2
    See Trial Tr., ECF No. 417 at 39.
3
    See Johnson v. Governor of Fla., 405 F.3d 1214, 1218 (11th Cir. 2005).
4
    Id.

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how the section 2 apportionment provision leads to this result. Harvey v. Brewer,

605 F.3d 1067, 1072 (9th Cir. 2010). But one way or the other, Richardson is the

law of the land.

         Recognizing this, in Johnson v. Governor of Florida, 405 F.3d 1214 (11th

Cir. 2005) (en banc), the court explicitly upheld Florida’s then-existing

disenfranchisement provisions. The bottom line: Florida’s longstanding practice of

denying an otherwise-qualified citizen the right to vote on the ground that the

citizen has been convicted of a felony is not, without more, unconstitutional.

         Florida has long had an Executive Clemency Board with authority to restore

an individual’s right to vote. But the Board moves at glacial speed and, for the

eight years before Amendment 4 was adopted, reenfranchised very few applicants.5

For the overwhelming majority of felons who wished to vote, the Executive

Clemency Board was an illusory remedy.

         Florida’s Constitution allows voter-initiated amendments. To pass, a

proposed amendment must garner 60% of the vote in a statewide election.6

Amendment 4, which passed with 64.55% of the vote, added a provision




5
 See, e.g., Prelim. Inj. Hr’g Tr., ECF No. 204 at 170-71; see also Pls.’ Ex. 893,
ECF No. 286-13 at 55-65.
6
    Fla. Const. art XI, § 5(e).

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automatically restoring the voting rights of some—not all—felons. The new

provision was codified as part of Florida Constitution article VI, section 4.

         The full text of section 4, with the new language underlined, follows:

              (a) No person convicted of a felony, or adjudicated in this or any
              other state to be mentally incompetent, shall be qualified to vote or
              hold office until restoration of civil rights or removal of disability.
              Except as provided in subsection (b) of this section, any
              disqualification from voting arising from a felony conviction shall
              terminate and voting rights shall be restored upon completion of all
              terms of sentence including parole or probation.

              (b) No person convicted of murder or a felony sexual offense shall
              be qualified to vote until restoration of civil rights.

Fla. Const. art. VI, § 4 (emphasis added). The exclusion of felons convicted of

murder or sexual offenses is not at issue in these cases. References in this order to

“felons” should be read to mean felons convicted only of other offenses, when the

context makes this appropriate. 7

         At least on its face, Amendment 4 was self-executing. Under Florida law,

the amendment’s effective date was January 8, 2019. Individuals with felony


7
 This order does not use the plaintiffs’ proposed term “returning citizens.” The
order instead uses “citizens” or “individuals” when the context is clear but “felons”
when necessary, because the term is both more accurate and less cumbersome.
“Returning” is inaccurate or at least imprecise; the citizens have not been away,
except, for some, in prison, and most who went to prison have been back for years
or decades. Respect is not a zero-sum game—more is almost always better. This
order aims at providing equal respect to those on both sides, save as necessary to
accurately set out the facts and ruling.



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convictions began registering to vote on that day. Supervisors of Elections

accepted the registrations. 8 This accorded with Florida law, under which

Supervisors are required to accept facially sufficient registrations, subject to later

revocation if a voter is found ineligible.

         During its spring 2019 session, the Legislature took up issues related to

Amendment 4, eventually passing a statute referred to in this order as SB7066. The

statute includes a variety of provisions. Two are the most important for present

purposes.

         First, SB7066 explicitly defines the language in Amendment 4, “completion

of all terms of sentence including probation or parole,” to mean not just any term

in prison or under supervision but also financial obligations included in the

sentence—that is, “contained in the four corners of the sentencing document.” Fla.

Stat. § 98.0751(2)(a). This does not include amounts “that accrue after the date the

obligation is ordered as a part of the sentence.” Id. § 98.0751(2)(a)5.c.

         Second, SB7066 explicitly provides that a financial obligation still counts as

part of the sentence—still must be paid for the person to be eligible to vote—if the

sentencing court converts it to a civil lien. Id. Conversion to a civil lien, usually at

the time of sentencing, is a longstanding Florida procedure that courts often use for



8
    See Pls.’ Ex. 44, ECF No. 152-41 at 3-4; see also Pls.’ Ex. 66, ECF No. 152-63.


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obligations a criminal defendant cannot afford to pay. 9 Conversion takes the

obligation out of the criminal-justice system and leaves the obligation enforceable

only through the civil-justice system.

         The financial obligations included in a sentence may include fines, fees,

costs, and restitution.

         Fines are imposed in a minority of cases.10 The amount is determined by the

court, subject to a maximum set by statute. For a small number of offenses, there is

a mandatory fine of at least a specified amount. 11

         Fees and costs are imposed in all cases, with few if any exceptions, though

there was a time when that was not so. 12 Each type of fee or cost is authorized,

indeed usually required, by statute. These are not traditional court costs of a kind

usually awarded in favor of a prevailing litigant; they are instead a means of

funding the government in general or specific government functions. 13 An


9
 See Fla. Stat. § 938.30(6)-(9); Prelim. Inj. Hr’g Tr., ECF No. 204 at 94; Pls.’ Ex.
189, ECF No. 167-20 at 48; Trial Tr., ECF No. 396 at 61-62, 100
10
     See Trial Tr., ECF No. 396 at 28-29.
11
  See, e.g., Fla. Stat. §§ 806.13(6)(a) (requiring a fine for certain criminal mischief
offenses); 812.014(2)(c)(7) (requiring a $10,000 fine for theft of a commercially
farmed animal).
12
     See Trial Tr., ECF No. 396 at 34-35.
13
     See Trial Tr., ECF No. 396 at 23-35.


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example is a flat $225 assessment in every felony case, $200 of which is used to

fund the clerk’s office and $25 of which is remitted to the Florida Department of

Revenue for deposit in the state’s general revenue fund. 14 Another example is a flat

$3 assessment in every case that is remitted to the Department of Revenue for

further distribution in specified percentages for, among other things, a domestic-

violence program and a law-enforcement training fund.15

         Restitution is ordered in a minority of cases and is payable to a victim in the

amount of loss as determined by the court. Restitution is sometimes awarded

jointly and severally against participants in the same crime, even when they are

charged in different cases. Most restitution orders require payment directly to the

victim, but some orders provide for payment through the Clerk of Court or

Department of Corrections, who charge a fee before payment of the remainder to

the victim. Over time, the fee has sometimes been a percentage, sometimes a flat

amount.

         The parties have sometimes referred to amounts a criminal defendant must

pay as “legal financial obligations” or “LFOs.” This order adopts this terminology

but uses it in a precise, more limited way: to refer only to obligations that the State




14
     See Fla. Stat. § 938.05(1)(a); see also Trial Tr., ECF No. 396 at 95.
15
     See Fla. Stat. § 938.01(1).

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says must be paid before a felon’s right to vote is restored under Amendment 4 and

SB7066. The terminology does not change when the obligation is paid; if it was an

“LFO” when imposed, it remains an “LFO” after payment—once an “LFO,”

always an “LFO.” As we shall see, the State’s position on whether an amount is

covered by SB7066 has not always been clear or consistent. But for purposes of

this order, by definition, whatever the State says is covered is an “LFO”; any other

obligation is not.

III. The Eleventh Circuit Ruling on Inability to Pay

         Early in this litigation, the plaintiffs moved for a preliminary injunction on

some but not all of their claims. After an evidentiary hearing, a preliminary

injunction was granted in favor of the 17 individual plaintiffs and against the

Secretary of State and the Supervisors of Elections in the counties where the

plaintiffs resided. 16

         The preliminary injunction had two parts. First, an enjoined defendant could

not take any action that both (a) prevented a plaintiff from registering to vote, and

(b) was based only on failure to pay an LFO that the plaintiff asserted the plaintiff

was genuinely unable to pay. Second, an enjoined defendant could not take any

action that both (a) prevented a plaintiff from voting and (b) was based only on a

failure to pay an LFO that the plaintiff showed the plaintiff was genuinely unable


16
     ECF No. 207.

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to pay. In short, plaintiffs who claimed inability to pay could register, and plaintiffs

who showed inability to pay could vote.

         The preliminary injunction explicitly allowed the Secretary to notify

Supervisors of Elections that an individual plaintiff had unpaid LFOs that would

make the plaintiff ineligible to vote absent a showing of genuine inability to pay.

The preliminary injunction left the state discretion on how the plaintiffs would be

allowed to establish their inability to pay.

         The State appealed. The United States Court of Appeals for the Eleventh

Circuit affirmed, squarely holding that Florida cannot prevent an otherwise-eligible

felon from voting just because the felon has failed to pay LFOs the felon is

genuinely unable to pay. Jones v. Governor of Fla., 950 F.3d 795 (11th Cir. 2020).

This order of course follows the Eleventh Circuit’s decision—and would reach the

same result anyway.

         This order does not repeat or even attempt to summarize the Eleventh

Circuit decision. On the inability-to-pay claim, the Eleventh Circuit’s analysis is

more important than anything included in this order.

IV. The Florida Supreme Court Decision on “All Terms of Sentence”

         After entry of the preliminary injunction and while the federal appeal was

pending, the Florida Supreme Court issued an advisory opinion in response to a

request from the Governor. See Advisory Op. to the Governor Re: Implementation



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of Amendment 4, the Voting Restoration Amendment, 288 So. 3d 1070 (Fla. 2020)

The court said “all terms of sentence including probation and parole,” within the

meaning of Amendment 4, includes financial obligations. This settles the question

of whether fines, fees, costs, and restitution are covered; they are.

         The court did not address what “completion” of these amounts means,

because the Governor explicitly told the court he was not asking for an advisory

opinion on that issue. Id. at 1074-75. The issue is important, because “completion”

could reasonably be construed to mean payment to the best of a person’s ability,

bringing Amendment 4, though not SB7066, into alignment with the plaintiffs’

inability-to-pay argument and Jones. The Florida Supreme Court did not address

the issue, instead heeding the Governor’s limitation on his request for an advisory

opinion.

V. The Plaintiffs

         Determining how much a person convicted of a felony in Florida was

ordered to pay as part of a criminal sentence is not as easy as one might expect. It

is sometimes easy, sometimes hard, sometimes impossible. Determining how much

a person has paid, especially given the State’s byzantine approach to calculating

that amount, is more difficult, but this, too, is sometimes easy, sometimes hard,

sometimes impossible. This is addressed below in the analysis of the merits.




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         The record includes evidence on the plaintiffs’ obligations, often introduced

by the State, apparently to show how easily their obligations could be calculated.

But even with a team of attorneys and unlimited time, the State has been unable to

show how much each plaintiff must pay to vote under the State’s view of the law.

For Mr. Gruver, the State submitted a judgment, but it does not include any

financial obligations.17 Mr. Gruver says he was ordered to pay fees and costs

totaling $801.18 He is genuinely unable to pay that amount. The record includes a

civil judgment for that amount dated 17 days after Mr. Gruver was sentenced. 19

Perhaps the criminal judgment included the same amount and it was converted to a

civil lien 17 days later. Or perhaps no amount was included in the criminal

judgment at all. Mr. Gruver says that with interest and collection fees, the debt has

grown to roughly $2,000.20

         One cannot know, from the information in this record, whether any financial

obligation was included in the “four corners” of Mr. Gruver’s criminal judgment.

See Fla. Stat. § 98.0751(2)(a). If this is the best the State’s attorneys could do, one


17
     Defs.’ Ex. 17A, ECF No. 148-18 at 3-5.
18
     Pls.’ Ex. 3, ECF No. 152-2 at 3.
19
     Defs.’ Ex. 17A, ECF No. 148-18 at 2.
20
     Pls.’ Ex. 24, ECF No. 152-23 at 2.



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wonders how Mr. Gruver or the Division of Elections could be expected to do

better.

           Mr. Mitchell was unaware he owed any amount until he registered to vote

and received a notice from his county’s Clerk of Court. 21 He now believes he owes

$4,483 arising from convictions in Miami-Dade and Okeechobee Counties.22 The

record does not show what amounts were included in his sentences.23 The Miami-

Dade Clerk of Court’s website includes a docket entry indicating $754 was

assessed as costs. 24 One cannot know, from this record, what amount the State

asserts Mr. Mitchell must pay to vote. But Mr. Mitchell works at a nonprofit

without salary; even if the amount was only $754, Mr. Mitchell would be unable to

pay it. 25

           Ms. Riddle was convicted of felonies between 1975 and 1988 in two

different counties. She asked the Clerks of Court for copies of the records of the




21
     Pls.’ Ex. 4, ECF No. 152-3 at 5.
22
     Id.
23
     See Defs.’ Ex. 17B, ECF No. 148-19.
24
     Id. at 6.
25
     See Pls.’ Ex. 4, ECF No. 152-3 at 5.



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convictions, but she was told the Clerks were unable to find them. 26 Ms. Riddle

apparently owes roughly $1,800 in connection with later convictions, but the

Clerk’s records do not match those maintained by the Florida Department of Law

Enforcement. Ms. Riddle is unable to pay that amount. 27 Ms. Riddle does not

know, and despite diligent efforts has been unable to find out, how much the State

says she must pay to vote.

           Ms. Leicht was convicted of a federal felony and ordered to pay over $59

million in restitution jointly and severally with others.28 She is unable to pay that

amount. After Amendment 4 passed, she was hesitant to register to vote, fearing

criminal prosecution, but a state senator encouraged her to register, and she did. 29

           Mr. Ivey was convicted of a felony in 2002. His judgment shows he was

assessed $428 in fees, but he did not know he owed any amount until a reporter

told him in 2019.30 Mr. Ivey has not asserted or proven he is unable to pay. The



26
     See Prelim. Inj. Hr’g Tr., ECF No. 204 at 162-65.
27
     Id. at 165-66.
28
     Pls. Ex. 6, ECF No. 152-5 at 3.
29
     Id.
30
     See Defs.’ Ex. 17C, ECF No. 148-20 at 4; see also Pls.’ Ex. 7, ECF No. 152-6 at
3.



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judgment shows no fine, but a printout from the Clerk of Court seems to say

“minimum fines” were assessed. 31 The amount the State asserts Mr. Ivey must pay

to vote is apparently $428, but that is not clear.

         Mr. Wrench apparently owes $3,000 in connection with felony

convictions.32 He is unable to pay that amount. But it is unclear whether he would

have to pay this amount, or anything close to it, to be able to vote.

         Mr. Wrench was convicted of felonies under two case numbers on

December 15, 2008.33 The State introduced copies of the judgments, but it is

unclear whether the copies are complete. The criminal judgments, or at least the

portion in the record, do not show any financial obligations. But on February 2,

2009, a civil judgment was entered under the first case number for $1,874 in

“financial obligations”—no further description was provided—that, according to

the civil judgment, had been ordered as part of the sentence. 34 Similarly, on March

15, 2011, more than two years later, a civil judgment was entered under the second

case number for $601 in unspecified “financial obligations” that, again according



31
     See Defs.’ Ex. 17C, ECF No. 148-20 at 33-34.
32
     See Pls.’ Ex. 8, ECF No. 152-7 at 3.
33
     See Defs.’ Ex. 17D, ECF No. 148-21 at 8-12, 18-20.
34
     Id. at 4.



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to the civil judgment, had been ordered as part of the sentence. 35 It is unclear what

amount, if any, the State asserts Mr. Wrench must pay on these convictions to be

eligible to vote.

         Mr. Wrench was convicted of another felony on November 7, 2011.36 An

order included in the judgment assessed costs of $200 with other amounts struck

through and initialed. 37 But a civil judgment was entered on March 5, 2012 for

$871. 38 It is unclear what amount the State asserts Mr. Wrench must pay on this

conviction to be eligible to vote.

         Ms. Wright was convicted of a felony. Her sentence included $54,137.66 in

fines and fees. 39 The judge immediately converted the full amount to a civil lien.40

Ms. Wright is employed part-time and earns $450 per month.41 She is unable to

pay the fines and fees.


35
     Id. at 15.
36
     Id. at 26.
37
     Id. at 27-28.
38
     Id. at 23.
39
     See Pls.’ Ex. 9, ECF No. 152-8; see also Defs.’ Ex 17E, ECF No. 148-22.
40
     Defs.’ Ex. 17E, ECF No. 148-22 at 10.
41
     See Pls.’ Ex. 9, ECF No. 152-8 at 4.



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         Dr. Phalen was convicted of a felony in Wisconsin in 2005. 42 He was

assessed $150,000 in restitution and has made regular payments, but he still owes

$110,000. Under Wisconsin law, he would be eligible to vote. The State of Florida

has acknowledged in this litigation that a felony conviction in another state does

not make a person ineligible to vote in Florida if the person would be eligible to

vote in the state where the conviction occurred.43 So Dr. Phalen is eligible to vote

in Florida, he just didn’t know it when he joined this litigation.

         Mr. Miller was convicted in 2015 of two felonies and a misdemeanor that

were prosecuted as part of the same case.44 The judgment assessed $1,221.25 in

fees and costs and $233.80 in restitution.45 He paid $252 on the restitution

obligation—more than the original assessment—but the Department of Corrections

says he still owes $1.11, apparently based in part on the Department’s 4%

surcharge for collecting payments.46 The records of the Florida Department of Law




42
     See Pls.’ Ex. 10, ECF No. 152-9.
43
     Trial Tr., ECF No. 408 at 81.
44
     See Defs.’ Ex. 17F, ECF No. 148-23.
45
     Id. at 9-10.
46
     Pls.’ Ex. 11, ECF No.152-10 at 3-4, 35-38.



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Enforcement and Clerk of Court give different amounts still owed for fees and

costs, but whatever the accurate number, Mr. Miller is unable to pay it.

         Mr. Tyson was convicted of felonies between 1978 and 1998.47 He was

ordered to pay fees, costs, and restitution. He paid the restitution. He has been

unable, despite extraordinary effort, to determine the amount still owed for fees

and costs.48 There are discrepancies in the available records that cannot be

reconciled. But whatever the precise balance, Mr. Tyson is unable to pay it. Even

so, it is no longer clear the State contends Mr. Tyson must pay the outstanding

balance to be able to vote, as addressed below in the discussion of the merits.

         Ms. Moreland was convicted of a felony and ordered to pay $618 in fees and

costs, but a separate cost sheet listed the amount as $718.49 She is unable to pay

either amount. She registered to vote when she thought she was eligible, but the

Manatee County Supervisor of Elections removed her from the roll based on the

unpaid LFOs, after giving proper notice. The Supervisor has reinstated her pending

developments in this litigation.



47
     See Pls.’ Ex. 12, ECF No. 152-11.
48
 See, e.g., Prelim. Inj. Hr’g Tr., ECF No. 204 at 172-79; see also Trial Tr., ECF
No. 393 at 185.
49
     See Pls.’ Ex. 531, ECF No. 354-7 at 47, 80.



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           Mr. Bryant owes more than $10,000 in fines, fees, and costs assessed on

felony convictions. 50 He pays $30 per month under a payment plan but is unable to

pay the full amount or whatever amount he would have to pay to vote.51 He

registered to vote after Amendment 4 was adopted, believing he was eligible. In

due course, though, he learned of the State’s contrary position. He submitted a

declaration early in this litigation, but he was not a named plaintiff when the

preliminary injunction was issued, and the preliminary injunction thus did not

explicitly apply to him. 52 Even though the Eleventh Circuit affirmed the

preliminary injunction before the March 2020 presidential primary in an opinion

making clear that Mr. Bryant is constitutionally entitled to vote, he chose not to

vote.53 Having left his criminal past behind, he did not wish to risk prosecution.54

           Ms. McCoy was convicted of a felony and ordered to pay $666 in fees and

$6,400 in restitution through the Clerk of Court.55 She paid the fees but is unable to


50
     Trial Tr., ECF No. 397 at 68.
51
     Id. at 66-68.
52
     See Pls.’ Ex. 23, ECF No. 152-22.
53
     Trial Tr., ECF No. 397 at 73-74.
54
     Id.
55
     See Defs.’ Ex. 17H, ECF No. 148-25 at 35-57.



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pay the restitution. 56 The restitution balance, with interest, has grown to $7,806.72.

Ms. McCoy tried to set up a payment plan but was told the Clerk of Court does not

allow payment plans for restitution. 57

         Ms. Singleton was sentenced for a felony on April 8, 2011. 58 The judgment

is in the record. It includes $771 in fees and costs.59 Ms. Singleton is unable to pay

that amount. The judgment does not mention restitution. A separate restitution

order was entered requiring Ms. Singleton to pay the victim $12,110.81; the

judge’s signature was undated, but the order was file-stamped July 9, 2014, over

three years after Ms. Singleton was sentenced.60 The record includes another

restitution order directing Ms. Singleton to pay a different victim $12,246.00; that

order bears no date.61 If, as appears likely, Ms. Singleton was not ordered to pay

restitution until three years after she was sentenced, the State apparently agrees that




56
     See Prelim. Inj. Hr’g Tr., ECF No. 204 at 134-36.
57
     Trial Tr., ECF No. 397 at 57.
58
     See Defs.’ Ex. 17I, ECF No. 148-26 at 4-8.
59
     Id. at 6.
60
     Id. at 9-10.
61
     Id. at 2-3.



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she can vote without paying the restitution.62 Ms. Singleton would not have known

this had she not participated in this litigation.

         Ms. Raysor was convicted of a felony. Her judgment is not in the record, but

she signed a payment plan calling for $30 monthly payments toward a total

obligation of $5,000.63 She is current on her payments and on pace to pay the full

balance by 2031. She is unable to pay a greater amount—as the State apparently

acknowledged by agreeing to the payment plan.

         Ms. Sherrill has felony convictions. Her judgments are not in the record. It is

unclear what financial obligations were imposed as part of the sentence, but the

outstanding balance is $2,279. 64 Ms. Sherrill is unable to pay that amount.

         Mr. Hoffman has felony convictions. He believes he owes $1,772.13 in one

county and $469.88 in another county in connection with the convictions.65 He is

unable to pay those amounts. Mr. Hoffman also has a misdemeanor conviction in a

case erroneously titled on the docket as a felony 66—a recurring problem that led


62
     Trial Tr., ECF No. 408 at 104.
63
     See Pls.’ Ex. 15, ECF No. 152-14.
64
     See Defs.’ Ex. 17K, ECF No. 148-28; see also Pls.’ Ex. 16, ECF No. 152-15.
65
     See Pls.’ Ex. 17, ECF No. 152-16.
66
  See Defs.’ Ex. 17L, ECF No. 148-29 at 26-28; see also Trial Tr., ECF No. 408 at
210-12.


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the Secretary of State’s Division of Elections to incorrectly assert more than 20

others were ineligible to vote in one county alone.67

         The League of Women Voters is an advocate for increased voter registration

and turnout. The League conducts voter-registration drives and conducts programs

to educate the public.68 The Florida State Conference of the NAACP and the

NAACP’s Orange County Branch are member-based civil-rights organizations

who advocate for the rights of members, including the right to vote.69 The NAACP

organizations have members directly affected by the State’s pay-to-vote system—

who are unable to vote under that system but will be able to vote if the plaintiffs

prevail in this litigation.

         The confusion created by SB7066 and the State’s failure to articulate clear

standards for its application, together with the difficulty determining whether any

given felon has unpaid LFOs, caused the League and the State Conference of the

NAACP to expend resources unnecessarily and interfered with their voter-

registration activities. Each organization curtailed its voter-registration activities

out of fear that citizens who registered with the organization’s help might be



67
 See Earley Dep. Designations, ECF No. 389-3 at 45-46; see also Pls’ Exs. 76-77,
ECF No. 152-73, 152-74.
68
     See Trial Tr., ECF No. 396 at 155.
69
     See Trial Tr., ECF No. 397 at 6-7.

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prosecuted, even if the organization and the citizen believed the citizen was

eligible. As a result, the organizations signed up fewer new voters—and are

continuing to sign up fewer new voters—than they otherwise would have.

VI. The Registration Process

         To be eligible to vote in Florida, a person must submit a registration form. If

the county Supervisor of Elections deems the form complete on its face, the

Secretary of State’s Division of Elections determines, using personal identifying

information, whether the person is real. If so, the person is added to the voting roll,

subject to later revocation if it turns out the person is ineligible.70

         The Division of Elections takes the laboring oar at that point, reviewing the

registration for, among other things, disqualifying felony convictions. 71 The

Division also periodically reviews all prior registrations for felony convictions,

because a person who was eligible at the time of initial registration may be

convicted later.

         If the Division finds a disqualifying felony conviction, the Division notifies

the proper Supervisor of Elections. Some Supervisors review the Division’s work



70
 See Defs.’ Ex. 16, ECF No. 148-16 at 5; see also Earley Dep. Designations, ECF
No. 389-3 at 29.
71
     Defs.’ Ex. 16, ECF No. 148-16 at 6-8; see also Fla. Stat. § 98.075(5).



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for accuracy; some do not.72 If the Supervisor concludes, with or without an

independent review, that the registrant is not eligible to vote, the Supervisor sends

the registrant a notice giving the registrant 30 days to show eligibility. 73 The

registrant may request a hearing before the Supervisor, and if unsuccessful may file

a lawsuit in state court, where review is de novo. 74 Requests for a hearing are

extremely rare; even long serving Supervisors have rarely conducted more than

one or two during an entire tenure. 75

         Supervisors sometimes address felony convictions on their own, without

awaiting notice from the Division that a registrant is ineligible. The Supervisors do

not, however, have the resources to perform the bulk of the screening process or to

conduct hearings on individual issues like the amount of a registrant’s LFOs or a

registrant’s ability to pay.

VII. Standing

         The defendants have asserted lack of standing on multiple grounds. Their

positions were rejected in earlier orders and are addressed here only briefly.


72
  See, e.g., Earley Dep. Designations, ECF No. 389-3 at 60-63, 129-30; see also
Pls.’ Ex. 69, ECF No. 152-66; Latimer Dep. Designations, ECF No. 389-4 at 90-
91.
73
     See Fla. Stat. § 98.075(7).
74
     Fla. Stat. § 98.0755.
75
     See Trial Tr., ECF No. 393 at 42; see also Trial Tr., ECF No. 402 at 54-55.

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         In Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992), the Supreme

Court said the “irreducible constitutional minimum of standing contains three

elements.” First, the plaintiff “must have suffered an injury in fact—an invasion of

a legally protected interest which is (a) concrete and particularized, and (b) actual

or imminent, not conjectural or hypothetical.” Id. (internal quotation marks and

citations omitted). Second, “there must be a causal connection between the injury

and the conduct complained of—the injury has to be fairly traceable to the

challenged action of the defendant, and not the result of the independent action of

some third party not before the court.” Id. (internal quotation marks, ellipses, and

brackets omitted). Third, “it must be likely, as opposed to merely speculative, that

the injury will be redressed by a favorable decision.” Id. (internal quotation marks

omitted); see also Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547-48 (2016).

         The State says the plaintiffs lack standing because they have already

registered to vote. But the State says most or all are ineligible to vote, and

fraudulently voting is a felony. If the plaintiffs win this lawsuit, they will be able to

vote; if they lose, most will not be able to vote. The plaintiffs have standing to

challenge provisions that prevent or deter them from voting.

         The State says the plaintiffs have no standing because, according to the

State, the plaintiffs challenge only SB7066 as applied, not Amendment 4. Because

Amendment 4 requires payment of LFOs, the State says, holding SB7066



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unconstitutional as applied would make no difference; the plaintiffs would still

have to pay their LFOs to be able to vote.

         One flaw in the argument is the assertion that SB7066 goes no further than

Amendment 4. As addressed ahead, SB7066 has a number of provisions that

Amendment 4 lacks, including, for example, the definition of “completion,” the

treatment of LFOs that are converted to civil liens, and the prescription of a

specific, flawed registration form. The Secretary of State’s Division of Elections is

following procedures, some attributed to SB7066, that cannot be gleaned from

Amendment 4.

         Much more significantly, the State is simply wrong when it asserts the

plaintiffs do not challenge application of Amendment 4 to otherwise-eligibile

citzens with unpaid LFOs. The complaints were filed before the Florida Supreme

Court construed Amendment 4 to cover LFOs, so it is not surprising that the

complaints focused on SB7066 and its explicit reference to LFOs. But it has been

clear all along that the plaintiffs assert it is unconstitutional to condition voting on

payment of LFOs, especially those a person is unable to pay. The preliminary

injunction, entered before the State filed its answers, read the complaints this

way. 76 The Eleventh Circuit clearly understood this on appeal. See, e.g., Jones, 950



76
     See ECF No. 207 at 7-8.


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F.3d at 800 (noting that the plaintiffs brought suit, “challenging the

constitutionality of the LFO requirement”). The plaintiffs explicitly confirmed

their position on the record at the trial, making clear they challenge the

requirement to pay LFOs as a condition of voting, whatever the source of that

requirement, including Amendment 4.77

         Here, as always, the plaintiffs are the masters of their claim. See, e.g., United

States v. Jones, 125 F.3d 1418, 1428-29 (11th Cir. 1997). The State cannot

redefine the plaintiffs’ claim to the State’s liking and attack only the claim as

redefined. So the State’s argument is unfounded.

         Further, in closing argument, the plaintiffs said that if their complaints could

somehow be construed not to allege that Amendment 4, to the extent it conditions

voting on payment of LFOs, is unconstitutional as applied, then they requested

leave to amend the complaints to conform to the evidence—that is, to include such

a claim. 78 No amendment is necessary, because the complaints allege and have

been construed all along to include such a claim, and the State has known it all

along, or at least from the date when the preliminary injunction was issued. If,

however, the complaints were somehow read more narrowly, I would grant leave



77
     Trial Tr., ECF No. 417 at 26-27, 48-49.
78
     Trial Tr., ECF No. 417 at 27-28; see also Fed. R. Civ. P. 15(b).


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to amend, so that the claim can properly be resolved on the merits. The State would

suffer no prejudice.

         The officials who are primarily responsible for administering the Florida’s

election system and registering voters are the Secretary of State at the state level

and the Supervisors of Elections at the county level. The Secretary is not always a

proper defendant in an election case. See Jacobson v. Fla. Sec’y of State, No. 19-

14552, 2020 WL 2049076 (11th Cir. Apr. 29, 2020). But the Secretary has a

substantial role in determining whether felons are eligible to vote. Indeed, she has

the primary role in determining whether a felon who has registered should be

removed from the roll, including on the ground of unpaid LFOs. She does not deny

she is a proper defendant here.79

         Prior governors have asserted they are not proper defendants in cases of this

kind. But here the Governor asserts an interest and says he does not wish to be

dismissed. He made the same assertion in the prior appeal, and the Eleventh

Circuit, without deciding whether he had a stake in the matter, allowed him to

remain in the case. See Jones, 950 F.3d at 805-06. This order takes the same

approach.

         The Supervisors of Elections have asserted they are not proper defendants,

but they, too, have a critical role in registration and removal of felons from the


79
     Trial Tr., ECF No. 417 at 43.

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rolls. They are proper defendants, as explained at greater length in denying their

motion to dismiss. See ECF Nos. 107, 110 at 7-9, 272 at 60-63; see also Jacobson,

2020 WL 2049076 at *9.

         In sum, the plaintiffs have standing, and the Secretary and Supervisors, if not

also the Governor, are the officials who can redress the claimed violations. The

Secretary and Supervisors, if not also the Governor, are proper defendants. See Ex

parte Young, 209 U.S. 123 (1908).

VIII. Reenfranchisement Must Comply with the Constitution

         When a state decides to restore the right to vote to some felons but not

others, the state must comply with the United States Constitution, including the

First, Fourteenth, Fifteenth, Nineteenth, and Twenty-Fourth Amendments. It is no

answer to say, as the State does, that a felon has no right to vote at all, so a state

can restore the right to vote or not in the state’s unfettered discretion. Both the

Supreme Court and the Eleventh Circuit have squarely rejected that assertion.

          In Richardson v. Ramirez, 418 U.S. 24 (1974), the plaintiffs were felons

who had completed their terms in prison and on parole but who, under California

law, were still denied the right to vote. The Supreme Court rejected their claim that

this, without more, violated the Equal Protection Clause.

         Even so, the Court did not say that because a state could choose to deny all

felons the right to vote and to restore none of them, the state’s decision to restore



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the vote to some felons but not others was beyond the reach of the Constitution.

Quite the contrary. The Court remanded the case to the California Supreme Court

to address the plaintiffs’ separate contention that California had not treated all

felons uniformly and that the disparate treatment violated the Equal Protection

Clause. Id. at 56. The remand was appropriate because when a state allows some

felons to vote but not others, the disparate treatment must survive review under the

Equal Protection Clause. The same is true here.

         It is no surprise, then, that in the earlier appeal in this very case, the Eleventh

Circuit took the same approach. The court made clear that the state’s decision on

which felons to reenfranchise was subject to constitutional review—indeed to

heightened scrutiny. See Jones, 950 F.3d at 809, 817-23.

         Similarly, in Johnson v. Governor of Florida, 405 F.3d 1214 (11th Cir.

2005) (en banc), the court upheld Florida’s decision to disenfranchise all felons,

subject to restoration of the right to vote by the Florida Executive Clemency

Board. Again, though, the court did not say that a state’s decision to restore the

vote to some felons but not others was beyond constitutional review. Instead, citing

an equal-protection case, the court made clear that even in restoring the right of

felons to vote, a state must comply with other constitutional provisions. See id.,

405 F.3d at 1216-17 n.1 (citing Harper v. Va. State Bd. of Elections, 383 U.S. 663,

668 (1966)).



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         An earlier decision to the same effect is Shepherd v. Trevino, 575 F.2d 1110

(5th Cir. 1978). There the court said a state’s power to disenfranchise felons does

not allow the state to restore voting rights only to whites or otherwise to “make a

completely arbitrary distinction between groups of felons with respect to the right

to vote.” Id. at 1114. As a decision of the Old Fifth Circuit, Shepherd remains

binding in the Eleventh. See Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th

Cir.1981) (en banc).

         Other courts, too, have recognized that provisions restoring the voting rights

of felons are subject to constitutional review. See, e.g., Harvey v. Brewer, 605 F.3d

1067, 1079 (9th Cir. 2010) (O’Connor, J.) (holding the Equal Protection Clause

applicable to Arizona’s felon-restoration statute but rejecting the plaintiffs’ claim

on the merits; noting that a state could not restore the vote only to felons of a

specific race or only to those over six feet tall); Johnson v. Bredesen, 624 F.3d 742,

746-50 (6th Cir. 2010) (holding the Equal Protection Clause applicable to

Tennessee’s felon-restoration statute but rejecting the plaintiffs’ claim on the

merits); Owens v. Barnes, 711 F.2d 25, 26-27 (3d Cir. 1983) (holding the Equal

Protection Clause applicable to Pennsylvania’s felon-restoration statute but

rejecting the plaintiff’s claim on the merits).




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         This unbroken line of decisions puts to rest any assertion that the State can

simply do as it pleases when restoring the right to vote to some felons but not

others. The State may now have abandoned that position.

IX. Inability to Pay

         The case involves individuals with at least one felony conviction, with no

conviction for murder or a sexual offense, who have completed all prison or jail

terms and all terms of supervision, and whose right to vote under Amendment 4

and SB7066 turns entirely on LFOs. There are two distinctions that are critical to

the constitutional analysis. The first is between individuals who have paid their

LFOs and those who have not. The second involves only individuals who have

unpaid LFOs; the distinction is between individuals who can afford to pay the

LFOs and those who cannot. In Jones, the focus was on the second distinction.

Both are at issue now. There are also equal-protection claims asserting race and

gender discrimination, but they are addressed in later sections of this order.




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         A. The Proper Level of Scrutiny

         In Jones, the Eleventh Circuit applied “heightened scrutiny” to the pay-to-

vote system’s treatment of citizens who are unable to pay the amount at issue—that

is, to the distinction between citizens who are able to pay their LFOs and those

who are not. The court said heightened scrutiny applies because the system creates

“a wealth classification that punishes those genuinely unable to pay fees, fines, and

restitution more harshly than those able to pay—that is, it punishes more harshly

solely on account of wealth—by withholding access to the ballot box.” Jones, 950

F.3d at 809.

         The court derived this holding from a long line of Supreme Court decisions.

See, e.g., M.L.B. v. S.L.J., 519 U.S. 102 (1996); Bearden v. Georgia, 461 U.S. 660

(1983); Zablocki v. Redhail, 434 U.S. 374 (1978); Tate v. Short, 401 U.S. 395

(1971); Williams v. Illinois, 399 U.S. 235 (1970); Griffin v. Illinois, 351 U.S. 12

(1956). No purpose would be served by repeating here the Eleventh Circuit’s full

analysis. Jones settles the issue, and even without Jones, the result would be the

same—for the reasons set out in Jones, in the order that Jones affirmed, and in the

many Supreme Court decisions on which those holdings relied. The pay-to-vote

system, at least as applied to those unable to pay, is subject to heightened scrutiny.

         Jones did not address the proper level of scrutiny for the pay-to-vote system

as applied to citizens who are able to pay—that is, for the distinction between



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citizens who have paid their LFOs and those who can afford to pay but have not

done so. The system still impacts voting, a feature that, in any other circumstance,

would trigger heightened scrutiny. Indeed, a wide array of state election laws, even

those without a direct impact on the right to vote, are subject to more than typical

rational-basis scrutiny. A court must identify and weigh “the character and

magnitude of the asserted injury to the rights protected by the First and Fourteenth

Amendments that the plaintiffs seek to vindicate against the precise interests put

forward by the State as justifications for the burden imposed by its rule, taking into

consideration the extent to which those interests make it necessary to burden the

plaintiff’s rights.” Burdick v. Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson

v. Celebrezze, 460 U.S. 780,789 (1983) (internal quotation marks omitted)).

         Nonetheless, in Shepherd v. Trevino, 575 F.2d 1110, 1115 (5th Cir. 1978),

the court held a reenfrachisement law subject to only rational-basis scrutiny. The

law afforded more favorable treatment to felons convicted in Texas state court than

to those convicted in federal court. As Jones makes clear, Shepard does not require

rational-basis scrutiny when other factors are present, including, for example, race

(as noted in Shepard itself) or wealth (as involved in Jones). And Shepard predated

Anderson and Burdick. Still, no later, binding decision directly contravenes

Shepard. Absent other grounds for applying a higher level of scrutiny, Shepard

remains a binding decision that requires application of only rational-basis scrutiny.



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         This order applies heightened scrutiny to the pay-to-vote system as applied

to those unable to pay (as Jones requires) and rational-basis scrutiny to the system

as applied to those able to pay (as Shepard requires).

         B. Heightened Scrutiny

         Heightened scrutiny requires an analysis of the legitimate governmental

interests allegedly served by a challenged provision. Before entry of the

preliminary injunction, the State’s primary argument was that in deciding to

reenfranchise some citizens but not others, a state can do as it wishes, with no

meaningful constitutional review. As set out above, that is plainly incorrect. The

State also briefly identified a single legitimate interest allegedly served by the pay-

to-vote system: the interest in reenfranchising only those felons who have

completed their sentences.

         The State went further in its appeal of the preliminary injunction, identifying

additional interests allegedly served by the pay-to-vote system, including

punishment, enforcing its laws, debt collection, and administrative convenience.

But the Eleventh Circuit held they all fell short. The evidence now in the record

after a full trial further support the Eleventh Circuit’s analysis.

         The State has not identified any additional interests allegedly served by the

pay-to-vote system. When reminded, late in closing argument at the end of the




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trial, that the State had identified interests on appeal but nothing more in this court,

the State said only that it stood by whatever it said on appeal. 80

         Jones thus settles the question whether the pay-to-vote system, as applied to

citizens who are genuinely unable to pay their LFOs, survives heightened scrutiny.

It does not. The plaintiffs are entitled to prevail on their claim that they cannot be

denied the right to vote based on failure to pay amounts they are genuinely unable

to pay.

         C. Rational-Basis Scrutiny

         Jones expressed “reservations” about whether the pay-to-vote system, as

applied to those genuinely unable to pay, “would pass even rational basis

scrutiny.” Jones, 950 F.3d at 809. The record now shows the reservations were

well founded. First, the evidence shows the system does not pass rational-basis

scrutiny under the analysis set out in Jones. Second, the evidence shows additional

irrationality: the State has shown a staggering inability to administer the system

and has adopted a bizarre position on the amount that must be paid. The State’s

actions now call into question whether the pay-to-vote system is rational even as

applied to those who are able to pay.

         Jones noted two possible approaches to rational-basis scrutiny. First, the

court said the issue might be whether the pay-to-vote system is rational as applied


80
     See Trial Tr., ECF No. 417 at 71-74.

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to felons genuinely unable to pay their LFOs. Second, the court said the issue

might be only whether the pay-to-vote system is rational as applied to the universe

of felons with LFOs, including those who both can and cannot pay. On this second

view, a plaintiff cannot assert an individual as-applied challenge to a provision that

is subject to only rational-basis scrutiny; such a provision need only be rational in

its typical application. Jones did not definitively resolve the question of which of

these approaches is appropriate—and there was no need for a resolution, because

the court applied heightened scrutiny.

         Following the Eleventh Circuit’s lead, this order takes on these rational-basis

issues, first addressing which approach is proper, then addressing each in turn.

                  (1) The Proper Approach to Rational-Basis Scrutiny

         The better view is that a plaintiff can assert an individual as-applied

challenge to a provision that is subject to rational-basis review, just as a plaintiff

can assert an as-applied challenge to a provision that is subject to strict or

heightened scrutiny. The level of scrutiny affects the analysis on the merits, but

there is no reason to preclude a plaintiff from asserting that a provision is

unconstitutional as applied to the plaintiff, regardless of the proper level of

scrutiny. Quite the contrary. Standing is a prerequisite to federal jurisdiction. To

establish standing, a plaintiff must show a concrete and particularized injury. See

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548-50 (2016). This makes it more



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appropriate, not less, for a plaintiff to focus on application of a challenged

provision to the plaintiff, not just to others. It is thus not surprising that, as Jones

recognized, the Supreme Court has on occasion “considered the rationality of a

statute as applied to particular plaintiffs without opining on its rationality more

generally.” Jones, 950 F.3d at 814 (citing City of Cleburne v. Cleburne Living Ctr.,

473 U.S. 432, 435 (1985)).

         To be sure, administrative convenience is a legitimate state interest that in

most circumstances provides a rational basis for line-drawing, even when some

affected individuals fall on the wrong side of the line—when some individuals are

treated in a manner that, but for administrative convenience, would make little or

no sense. But this is a merits issue, not a question of whether the plaintiff may

assert an as-applied challenge in the first instance.

         As it turns out, the outcome here is the same regardless of which approach to

rational-basis scrutiny is applied.

                  (2) Rational-Basis Scrutiny as Applied to the Plaintiffs

         First, if an individual as-applied challenge can be brought in a rational-basis

case, Jones settles the question, holding the pay-to-vote system irrational as

applied to individuals who are unable to pay:

              [I]f the question on rational basis review were simply whether the
              LFO requirement was rational as applied to the truly indigent—
              those genuinely unable to meet their financial obligations to pay
              fees and fines, and make restitution to the victims of their crimes—

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              we would have little difficulty condemning it as irrational. Quite
              simply, Florida’s continued disenfranchisement of these seventeen
              plaintiffs is not rationally related to any legitimate governmental
              interest.

Jones, 950 F.3d at 813.

                  (3) Rational-Basis Scrutiny of the Mine-Run Case

         Jones said the outcome under the second approach—the approach looking

not at application of the pay-to-vote requirement to those unable to pay but instead

to all felons affected by the requirement—might turn on the proportion of felons on

each side of the line. The court said:

                  If rational basis review, then, generally is designed to ask only
              if the codification has some conceivable relation to a legitimate
              interest of the state, we would readily say that the LFO
              requirement as applied to the whole class of felons is rational. The
              analysis becomes more difficult, however, when the requirement is
              irrational as applied to a class of felons genuinely unable to pay if
              this class of the impecunious actually resembles the mine-run felon
              who has otherwise completed the terms of his sentence. Put
              another way, if the LFO requirement is irrational as applied to
              those felons genuinely unable to pay, and those felons are in fact
              the mine-run of felons affected by this legislation, then the
              requirements may be irrational as applied to the class as a whole.

Id. at 814 (emphasis in original).

         The record now shows that the mine-run of felons affected by the pay-to-

vote requirement are genuinely unable to pay. 81 I find as a fact that the


81
  See Trial Tr., ECF No. 388 at 61-62, 73-88; Trial Tr., ECF No. 396 at 16-23, 29-
34, 37-40, 42-44, 84, 90-93, 99-100; Trial Tr., ECF No. 393 at 157-162; Pls.’ Ex.


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overwhelming majority of felons who have not paid their LFOs in full, but who are

otherwise eligible to vote, are genuinely unable to pay the required amount, and

thus, under Florida’s pay-to-vote system, will be barred from voting solely because

they lack sufficient funds. 82

         Indeed, given the State’s other methods for enforcing the requirement to pay,

there is no reason to believe—and the Legislature had no reason to believe—that

any significant number of felons were able to pay but chose not to. The State’s

other enforcement methods include not only those available to ordinary creditors

but also the ability to suspend a felon’s driver’s license and the ability to imprison

a felon who is still on supervision and chooses not to pay.

                  (4) Administrative Irrationality

         The analysis to this point has tracked Jones. First, as applied to those who

are unable to pay, the pay-to-vote system is subject to heightened scrutiny and

fails. Second, as applied to those who are unable to pay, the pay-to-vote system

fails even rational-basis scrutiny. Third, if as-applied challenges are not available

to a subset of those affected by a provision that is subject to only rational-basis



894, ECF No. 360-48; Pls.’ Ex. 299, ECF No. 349-5; Pls.’ Ex. 156, ECF No. 348-
15 at 4-7, 10-18; Pls’ Ex. 298, ECF No. 349-41; Pls.’ Ex. 462, ECF No. 353-27;
Pls.’ Ex. 876, ECF No. 360-34.
82
  The evidence supporting this finding includes the expert testimony of Dr. Daniel
A. Smith. I credit Dr. Smith’s testimony in full.

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scrutiny, the pay-to-vote system still fails, because the system is irrational as

applied to the mine-run of affected felons and thus is irrational as a whole.

         What has been said to this point would be enough to resolve this claim. But

there is more. The State has shown a staggering inability to administer the pay-to-

vote system and, in an effort to reduce the administrative difficulties, has largely

abandoned the only legitimate rationale for the pay-to-vote system’s existence.

         The administrative difficulties arise primarily at three levels.

                          1. Determining the Original Obligation

         First, many felons do not know, and some have no way to find out, the

amount of LFOs included in a judgment.83 In recent years, most Florida counties,

but not all, have used a standard form of judgment. If a felon knows to obtain from

the county of conviction a copy of the judgment, the original amount of LFOs will

usually, but not always, be clear.84

         Few individuals will know, however, that they must obtain copies of their

judgments. Most will start with the internet or telephone or perhaps by going in



83
  See Trial Tr., ECF No. 396 at 51-58, 81-83, 92, 98-99; Trial Tr., ECF No. 393 at
168-69, 172; Prelim. Inj. Hr’g Tr., ECF No. 204 at 163-65; see also Pls.’ Ex. 7,
ECF No. 152-6 at 3.
84
 See Trial Tr., ECF No. 396 at 102; Trial Tr., ECF No. 393 at 187; see, e.g.,
Defs.’ Ex. 17C, ECF No. 148-21 at 4; Defs.’ Ex. 17F, ECF No. 148-23 at 10.



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person to the office of the county Supervisor of Elections or Clerk of Court. Trying

to obtain accurate information in this way will almost never work. A group of well-

trained, highly educated individuals—a professor specializing in this field with a

team of doctoral candidates from a major research university—made diligent

efforts over a long period to obtain information on 153 randomly selected felons. 85

They found that information was often unavailable over the internet or by

telephone and that, remarkably, there were inconsistencies in the available

information for all but 3 of the 153 individuals.86

         For felons who are astute enough or learn that they need copies of their

judgments to determine how much they must pay to vote, the problem is not

solved. Few felons already have copies of their judgments, especially after any

term in custody or when years or decades have passed. 87 Many counties charge a

fee for a copy of a judgment.88 Many felons cannot afford to pay a fee, and


85
  See Pls.’ Ex. 892, ECF No. 360-47; see also Trial Tr., ECF No. 388 at 143-206,
221-25.
86
  See Pls.’ Ex. 892, ECF No. 360-47 at 9-10, 38-56, 67-68; see also Trial Tr., ECF
No. 388 at 185-86. I credit the testimony of Dr. Traci R. Burch, the professor
responsible for this research.
87
  See Trial Tr., ECF No. 396 at 56; Prelim. Inj. Hr’g Tr., ECF No. 204 at 163-65,
172.
88
     See Trial Tr., ECF No. 388 at 229; Pls.’ Ex. 892, ECF No. 360-47 at 16.



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requiring a potential voter to pay a fee that is not part of a felony sentence presents

its own set of constitutional issues.

         In any event, for older felonies, a copy of the judgment may not be available

at all, or may be available only from barely legible microfilm or microfiche or

from barely accessible archives, and only after substantial delay.89 As one

example, a Supervisor of Elections said she had been unable to assist a person with

a 50-year-old conviction for which records could not be found; the Supervisor

could not determine the person’s eligibility to vote.90 And even when records can

eventually be found, delaying a voter’s ability to register presents its own set of

constitutional issues.

         Even if a felon manages to obtain a copy of a judgment, the felon will not

always be able to determine which financial obligations are subject to the pay-to-

vote requirement. Judgments often cover multiple offenses, with sentences

imposed simultaneously, often without matching financial obligations with specific

offenses. The offenses may include felonies on which a conviction is entered,

felonies on which adjudication is withheld, and misdemeanors. Only felonies on

which a conviction is entered disqualify a felon from voting and thus may be



89
     See Trial Tr., ECF No. 396 at 81-83; Trial Tr., ECF No. 393 at 170-72, 186-88.
90
     Trial Tr., ECF No. 393 at 19-20.


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subject to the pay-to-vote system. But when a judgment does not allocate financial

obligations to specific offenses, it is impossible to know what amount must be paid

to make the person eligible to vote.

         An example well illustrates the problem. The Director of the Division of

Elections—the ranking state official actively working on these issues—was shown

at trial the judgment of Mr. Mendez, one of the 17 named plaintiffs.91 The

judgment applies to both a felony and a misdemeanor and includes a $1,000 fine,

but the judgment does not indicate whether the fine applies to the felony or the

misdemeanor or partly to one and partly to the other. The Director said she did not

know whether Mr. Mendez would be allowed to vote only upon payment of the

fine—that this was an issue that would require further analysis.92

         In sum, 18 months after adopting the pay-to-vote system, the State still does

not know which obligations it applies to. And if the State does not know, a voter

does not know. The takeaway: determining the amount of a felon’s LFOs is

sometimes easy, sometimes hard, sometimes impossible.

                          2. Determining the Amount that Has Been Paid

         Determining the amount that has been paid on an LFO presents an even

greater difficulty. It is often impossible.


91
     See Trial Tr., ECF No. 408 at 190-200; Defs.’ Ex. 17N, ECF No. 148-31.
92
     Trial Tr., ECF No. 408 at 197-98.

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         It does not help that the State has adopted two completely inconsistent

methods for applying payments to covered obligations. This order addresses each

method in turn. For convenience, the order attaches labels to each method that,

while not entirely accurate, will make explanations less cumbersome.

                                 (a) The Actual-Balance Method

         The most obvious method for determining whether an obligation has been

paid is to determine the original amount of the obligation and to deduct any

principal payments that have been made on the obligation. This happens every day

across the nation and indeed across the world. It happens for mortgages, car loans,

student loans, credit cards, and all manner of installment obligations. When

payments are applied in this manner, what remains is the actual balance owed on

the obligation. This order refers to this method of applying payments as the actual-

balance method.

         The most obvious method for determining the amount that must be paid

under the State’s pay-to-vote system is the actual-balance method. Suppose, for

example, a judgment requires a felon to pay $300. The felon is unable to pay all at

once and so sets up a payment schedule. The county charges, and the felon pays, a

$25 fee for setting up the payment schedule. 93 In due course the county turns the


93
     Trial Tr., ECF No. 396 at 29.



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matter over to a collection agency.94 The felon pays $100 to the collection agency,

which keeps $40 as its fee and turns over $60 to the county for application on the

felon’s debt. The county’s records will show the outstanding balance as $240,

calculated as $300 - $60. Using the actual-balance method, the felon will be

required to pay $240 to vote.

         The hypothetical is realistic in most respects. Many counties, perhaps most,

assess a $25 fee for setting up a payment plan.95 Most counties, perhaps all,

routinely turn accounts over to collection agencies. Collection agencies routinely

charge fees of up to 40% and routinely remit to a county only the net remaining

after deducting the fee. 96 County records routinely show only the net payment, not

the amount retained by the collection agency. 97 The only unrealistic part of the




94
  Id. at 29, 32, 93; see also Trial Tr., ECF No. 393 at 201-02, 206-07. Some of the
individual plaintiffs have had their outstanding LFOs sent to a collections agency.
See, e.g., Pls.’ Ex. 24, ECF No. 152-23; Pls.’ Ex. 11, ECF No. 152-10; Trial Tr.,
ECF No. 388 at 41-42; Trial Tr., ECF No. 397 at 66-67.
95
 See Fla. Stat. § 28.246(5); see also Trial Tr., ECF No. 396 at 29; Pls.’ Ex. 15,
ECF No. 152-14 at 13.
96
  See Fla. Stat. §§ 938.35, 28.246(6); Trial Tr., ECF No. 393 at 190, 206-07;
Prelim. Inj. Hr’g, ECF No. 204 at 96-98.
97
  Trial Tr., ECF No. 388 at 221-25; Trial Tr., EF No. 393 at 190, 206-07; Prelim.
Inj. Hr’g Tr., ECF No. 204 at 98.



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hypothetical is this: in recent years, all felons have been assessed fees well in

excess of $300.

           When testifying at trial, the Assistant Director of the Division of Elections

initially testified, in effect, that the actual-balance method is the proper method for

determining how much a felon must pay to vote. 98 In response to a similar

hypothetical—the same as posed above but without the $25 fee for setting up a

payment plan—the Assistant Director testified that the felon would be required to

pay $240 to vote, calculated as the initial $300 obligation less the net payment of

$60.99 The Assistant Director also acknowledged an email she sent to a Supervisor

of Elections in September 2019 using the actual-balance method and concluding,

based on this method, that a specific felon was not eligible to vote. 100

           In November 2019, the Work Group that SB7066 established to study

administration of this system made recommendations.101 One was that the State

establish a system for clearly matching payments to the specific obligations to

which they applied. This matters under the actual-balance method but not under the



98
     Trial Tr., ECF No. 413 at 153-55.
99
     Id.
100
      Id. at 157-161; see also Pls.’ Ex. 854, ECF No. 360-12.
101
      See Pls.’ Ex., 279 & Defs’ Ex. 27, ECF No. 240-1 at 19.


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State’s newly adopted alternative method, as addressed below. The

recommendation thus makes clear that the Work Group believed the actual-balance

method was the proper method for determining the amount that must be paid to

vote.

         The actual-balance method was also consistent with the State’s position in

this litigation. In opposing the preliminary injunction, the State said a felon could

call the Clerk of Court to determine the “outstanding” amount of fees and costs.102

This could only refer to the actual-balance method, which requires the Clerk to

know the net amount of payments that have been applied on an obligation, not the

gross amount of all payments, whether or not applied on the obligation, as required

for application of the State’s alternative method, as addressed below.

         The record includes an example. A Clerk’s records showed a payment of

$76.92.103 The plaintiffs’ expert managed to work backwards and figure out that, in

all likelihood, this resulted from a $100 payment to a collection agent, whose fee

agreement allowed it to retain 30% of the net payment. 104 Dividing $100 by 1.3

yields a payment to the Clerk of $76.92 and a fee to the agent of $23.08. But



102
      See ECF No. 132 at 28.
103
      See Trial Tr., ECF No. 388 at 199-202, 221-25.
104
      Id. at 221-25.


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nothing in the Clerk’s records showed this is what happened. If one’s goal was to

determine total payments, rather than the outstanding balance, there would be no

way to do it—unless, perhaps, an expert assisted by a team of Ph. D. candidates

had time to pour over records and work backwards. This could not have been what

the State meant.

         Similarly, in the State’s brief in the Eleventh Circuit, the State repeatedly

said the requirement was to pay any “outstanding” LFOs. 105

         Nothing in this record suggests that before March 2020, anyone believed or

even considered it possible that the amount a felon would be required to pay to

vote would properly be calculated using anything other than the actual-balance

method. It is not surprising, then, that one Supervisor of Elections testified she had

never heard of the alternative method the State now embraces. 106

         As the litigation progressed, though, it became evident that the actual-

balance method presented substantial, perhaps insurmountable constitutional

difficulties. The State’s records were incomplete and inconsistent, especially for

older felonies, and often did not match payments with obligations. This made it




105
      See, e.g., Jones v. Govenor of Fla., No. 19-14551, Appellant’s Br. at 19, 41, 43.
106
      Trial Tr., ECF No. 413 at 169-70; Trial Tr., ECF No. 393 at 38-39,



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impossible to calculate the balance owed in many cases. An expert analysis

showed inconsistencies for 98% of a randomly selected group of felons. 107

            The case of one named plaintiff, Clifford Tyson, is illustrative. An

extraordinarily competent and diligent financial manager in the office of the

Hillsborough County Clerk of Court, with the assistance of several long-serving

assistants, bulldogged Mr. Tyson’s case for perhaps 12 to 15 hours.108 The group

had combined experience of over 100 years. 109 They came up with what they

believed to be the amount owed. But even with all that work, they were unable to

explain discrepancies in the records. 110

            Other examples abound. Restitution is usually payable only to the victim

directly. 111 A sentence often, indeed usually, includes an order prohibiting the

defendant from contacting the victim. 112 The defendant may have no record of

amounts paid, especially if they were paid years or decades ago, and may never


107
      See Pls.’ Ex. 892, ECF No. 360-47 at 9.
108
      Trial Tr., ECF No. 393 at 185.
109
      Id.
110
      Id. at 183-86.
111
      Id. at 157; Prelim. Inj. Hr’g Tr., ECF No. 204 at 104-05.
112
      See, e.g., Trial Tr., ECF No. 397 at 60.



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have known how the victim applied them—whether, for example, amounts were

credited to interest, and if so, in what amount. The State has no record of

restitution payments at all, except in the smaller number of cases in which

restitution is payable to or through the Clerk of Court or Department of

Corrections. 113

         When this information is unknown, it may be unknowable. Individual

victims may have died or moved to parts unknown, and corporate victims may

have gone out of business or been merged into other entities. Indeed, there may be

nobody to pay, even if a felon is willing and able to make a payment. Insisting on

payment of amounts long forgotten seems an especially poor basis for denying the

franchise.

         In addition, in many cases, probably most, a felon could not pay the

outstanding balance without being required to pay additional amounts—amounts

that were not included in a sentence and that a felon could not, under any plausible

theory, be required to pay as a condition of voting.

         Two examples illustrate the problem.

         First, suppose a felon owes $100 and wishes to pay it to become eligible to

vote. If the debt has been turned over to a collection agency, the Clerk of Court

will not accept a payment. The felon will have to pay the collection agency a


113
      Trial Tr., ECF No. 393 at 157; Prelim. Inj. Hr’g Tr., ECF No. 204 at 104-05.

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greater amount, as much as $166.67, to produce a net payment of $100 to the

Clerk. It is hard to explain why a felon should have to pay the additional $66.67 to

be able to vote.

         Second, if restitution is payable not directly to the victim but through the

Clerk of Court or Department of Corrections, the Clerk or Department imposes a

charge for processing the payment—sometimes a specific amount, sometimes a

percentage. The record includes, as an example, a 4% fee.114 On that basis, a felon

who owes $100 in restitution will have to pay $104 to vote—not just the $100

included in the sentence. It is hard to explain why a felon should have to pay the

additional $4 to be able to vote. Indeed, it is hard to explain why the $4 charge is

not a tax prohibited by the Twenty-Fourth Amendment.

         That the $4 fee is a tax can be shown by comparing a purchase to a theft. If

an individual buys a grill for $100, the state exacts a 6% sales tax; the buyer must

pay $106. If an individual steals the grill, the court will require restitution of the

same $100, and, upon payment, the state may exact a 4% charge. If the $6 charge

is a tax, as it plainly is, it is hard to explain why the $4 charge is not also a tax.

There is no plausible theory under which a felon can be required to pay a $4 tax to

vote. The same analysis applies when the State’s take is not 4% but a flat fee.



114
      See, e.g., Pls.’ Ex. 11, ECF No. 152-10 at 3-4, 34-38.


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         The takeaway: under the actual-balance method, determining what part of an

LFO has been paid is sometimes easy, sometimes hard, sometimes impossible.

                                 (b) The Every-Dollar Method

         To avoid some of these intractable constitutional difficulties, in March 2020,

less than two months before the trial, the State abruptly changed course.115 The

State adopted what I referred to at trial as the “first-dollar method,” an appellation

the parties adopted, not as accurate but as convenient, and perhaps out of deference

to the court. A better description is the “every-dollar method,” a description that is

used in this order.

         The State decided, entirely as a litigating strategy, that instead of having to

pay the outstanding balance of a specific obligation, an individual would be

required only to make total payments on any related obligation, whether or not

included in the sentence itself, that added up in the aggregate to the amount of the

obligations included in the sentence.116 Put differently, the State decided to

retroactively reallocate payments, now applying every payment to the obligations

in the original sentence, regardless of the actual purpose for which the payment




115
   See Defs.’ Ex. 167, ECF No. 343-1; Defs.’ Ex. 144, ECF No. 352-11; see also
Trial Tr., ECF No. 408 at 127-30; Trial Tr., ECF No. 413 at 169-70.
116
      Trial Tr., ECF No. 413 at 169; Trial Tr., ECF No. 308 at 130, 165, 170.

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was made or how it was actually applied. And the State decided to treat future

payments the same way.

         The approach can be illustrated with the same hypothetical set out above.

Recall that the judgment required payment of $300; the county imposed, and the

felon paid, a $25 fee to set up a payment plan; and the felon paid $100 to a

collection agency, which kept $40 and remitted $60 to the county. This left an

actual balance of $240, calculated as $300 - $60. Now, though, the State says the

individual needs to pay only $175 to vote, calculated as $300 - $25 - $100. The

State treats the $25 fee that the felon paid to set up a payment plan not as having

been paid on that fee but as having been paid on the original $300 obligation. And

the State treats the entire $100 paid to the collection agency as having been paid on

the original $300 obligation, even though $40 of that amount never made it to the

county, was not credited on the $300 obligation, and is not even reflected in the

county’s records. 117

         If the every-dollar approach accomplished its goal of shoring up the State’s

position in this litigation, it would present, for the affected part of the plaintiffs’

claims, a voluntary-cessation issue. A “defendant’s voluntary cessation of

allegedly unlawful conduct ordinarily does not suffice to moot a case.” Friends of



117
   See Trial Tr., ECF No. 393 at 190-91, 206-07; Trial Tr., ECF No. 388 at 221-
25; Prelim. Inj. Hr’g, ECF No. 204 at 97-98.

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the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 174 (2000). The same

is true for an individual claim within a case. A claim becomes moot only “if

subsequent events made it absolutely clear that the allegedly wrongful behavior

could not reasonably be expected to recur.” Id. at 189 (internal quotation marks

and citations omitted).

         When the defendant is a governmental entity, “there is a rebuttable

presumption that the objectionable behavior will not recur.” Troiano v. Supervisor

of Elections in Palm Beach Cty., 382 F.3d 1276, 1283 (11th Cir. 2004) (emphasis

in original). Relevant considerations include whether the change in the

governmental entity’s position was adopted only in response to litigation and

whether the change has been incorporated into a statute or rule or formal policy.

See Rich v. Sec’y, Fla. Dep’t of Corr., 716 F.3d 525, 531-32 (11th Cir. 2013);

Atheists of Fla., Inc. v. City of Lakeland, 713 F.3d 577, 594 (11th Cir. 2013). Here

the every-dollar method was adopted only in response to the litigation; it is not set

out in a statute or rule or even in a formal policy; and it could be abandoned just as

easily as it was adopted. The State could easily revert to the actual-balance method.

         As it turns out, the every-dollar method makes the pay-to-vote system’s

constitutional deficiencies worse, not better; the State’s change of course

undermines—it does not shore up—the State’s position. This makes the discussion

of voluntary cessation largely academic.



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         The explanation is this. The State’s principal justification for the pay-to-vote

system is that a felon should be required to satisfy the felon’s entire criminal

sentence before being allowed to vote—that the felon should be required to pay the

felon’s entire debt to society. But the every-dollar method gravely undermines this

debt-to-society rationale. Under the every-dollar approach, most felons are no

longer required to satisfy the criminal sentence. Four illustrations make the point.

         First, recall that in the hypothetical set out twice above, the judgment

required payment of $300; the county imposed, and the felon paid, a $25 fee to set

up a payment plan; and the felon paid $100 to a collection agency, which kept $40

and remitted $60 to the county. This left an actual balance of $240, calculated as

$300 - $60. Under the every-dollar approach, though, the State says the individual

can vote upon payment of only $175, calculated as $300 - $25 - $100. The $175

payment will leave a balance of $65 still owed on the criminal sentence—an

amount whose payment can be enforced as part of the criminal case. But the State

says the felon can vote. The debt to society, defined as compliance with the

sentence, has not been paid.

         Second, recall that in a different hypothetical set out above, $100 in

restitution could be paid only by tendering $104 to the entity designated to collect

it, perhaps the Department of Corrections. The Department would take its 4% fee,

or $4, and send the remaining $100 forward as payment to the victim in full. Under



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the every-dollar approach, however, the individual could vote upon payment of just

$100, not $104. From a $100 payment, the Department would still take its 4% fee

and so would apply the payment as $3.85 to the Department and $96.15 to the

victim. The State says the felon could vote, even though the victim would still be

owed $3.85. 118 The same analysis would apply if the Department charged a flat

fee, not a percentage. Either way, the debt to society, defined as compliance with

the sentence, would not have been paid.

         Third, Mr. Tyson was convicted of multiple felonies long ago. He was

sentenced to probation. The sentences included restitution, now paid in full, and

fees with an outstanding balance Mr. Tyson is unable to pay. While on probation,

Mr. Tyson was required to pay, and sometimes did pay, $10 per month toward the

cost of supervision. 119 As the State acknowledges, when a felon is required to pay

the cost of supervision, this is not an amount that must be paid to vote; the amount

is not part of the sentence but instead accrues later.120 Under the every-dollar

method, though, the amount is credited against the amount that must be paid to



118
      See, e.g., Trial Tr., ECF No. 408 at 173-75.
119
      See Prelim. Inj. Hr’g Tr., ECF No. 204 at 174-75.
120
   See ECF No. 408 at 103; Fla. Stat. § 98.0751(2)(a)5.c. (stating that “all terms of
sentence” does not include amounts that “accrue after the date the obligation is
ordered as part of the sentence”).


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vote. Mr. Tyson has not paid all the LFOs that were imposed as part of his

sentences. But under the every-dollar method, he may be eligible to vote, even

though his debt to society, defined as compliance with the sentence, has not been

paid.

         Fourth, Christina Paylan’s sentence included $513 in fees she has not

paid.121 She took an appeal and paid $1,554.65 toward the cost of preparing the

record. The fact that she pursued an appeal should have nothing to do with whether

she can vote. But under the State’s every-dollar approach, she is eligible to vote,

even though her LFOs were not paid, because her payment for appellate costs

exceeded the LFOs. She is eligible to vote, that is, even though her debt to society,

defined as compliance with the sentence, has not been paid.

         This fourth example shows just how far the State is willing to stray from any

approach that makes sense. Consider three individuals who committed the same

crime and drew the same sentence, including the same LFOs. All three are out of

prison and off supervision. The first individual has money, pays the LFOs, and can

vote. The second and third have no money, owe the same amount on their LFOs,

and cannot pay it. The only difference between the second and third is this: the

second found a relative who put up funds for an appeal, while the third took no

appeal. Under the State’s pay-to-vote system, coupled with the every-dollar


121
      See Pls.’ Ex. 854, ECF No. 360-12; Trial Tr., ECF No. 413 at 157-60.

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method, the first and second individuals can vote; the third cannot. The first can

vote because she has money. The second can vote because she took an appeal. This

should not disqualify a person from voting—but it also should not make a person

eligible who otherwise would not be. The third cannot vote because she does not

have money and did not take an appeal. This result is bizarre, not rational.

         The amounts in some of these examples are small, but the numbers could be

multiplied by 10 or 100 or 1,000, and the principle would be the same. Moreover,

the Supreme Court has made clear that when the issue is paying to vote, even $1.50

is too much. See Harper v. Va. State Bd. of Elections, 383 U.S. 663, 664 n.1, 668

(1966). On voting issues, the old British maxim holds true: in for a penny, in for a

pound.

         Many more examples could be given showing the irrationality of the pay-to-

vote system when coupled with the every-dollar method. Individuals will be

allowed to vote with unpaid restitution, even when they can afford to pay. The

same will be true for fines, fees, and costs. In sum, the every-dollar method

thoroughly departs from, and thus undermines, the debt-to-society rationale.

         What the Fifth Circuit said of a different reenfrachisement argument is

equally true of Florida’s every-dollar argument: “The ingenuity of this argument is

matched only by its disingenuousness.” Shephard v. Trevino, 575 F.2d 1110, 1113

(5th Cir. 1978). The every-dollar approach is contrary to the State’s original



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understanding, was conceived only in an effort to shore up the State’s flagging

position in this litigation, and renders the pay-to-vote system more irrational, not

less.

         In any event, the takeaway for the administrability analysis is this: even

using the every-dollar method, determining the amount of payments allocable to

LFOs is sometimes easy, sometimes hard, sometimes impossible.

                          3. Processing Registrations in the Division of Elections

         The Secretary of State’s Division of Elections screens all newly registered

voters for felony convictions. 122 The Division also periodically screens previously

registered voters to determine whether they have new convictions.123

         Before Amendment 4, the process consisted primarily of matching two sets

of data, one consisting of registrants, the other of felons. The Division ordinarily

required matches on at least three of four data points: full name, driver’s license

number, social security number, and state identification card number.124 If there

was a match—the registrant was a felon—the Division needed only to check on

restoration of rights, either through the Florida Executive Clemency Board or


122
      See Defs.’ Ex. 16, ECF No. 148-16 at 6-8; see also Fla. Stat. § 98.075(5).
123
      See Defs.’ Ex. 16, ECF No. 148-16 at 6-8; see also Fla. Stat. § 98.075(5).
124
      Defs.’ Ex. 16, ECF No. 148-16 at 7-8.



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under another state’s laws.125 The Division reported to the proper Supervisor of

Elections any match that, in the Division’s terminology, was not “invalidated”

through restoration of rights. The Division was staffed to handle the workload.

         Amendment 4 and SB7066 increased the workload by several orders of

magnitude. The question was no longer just whether there was a match that had not

been invalidated by the Clemency Board or under another state’s laws. Now the

Division had to address three new questions: whether a matched individual had a

felony conviction for murder or a sexual offense, whether the individual was in

custody or on supervision, and whether the individual had unpaid LFOs. 126

         Florida law requires a budget analysis in connection with proposed

legislation. The analysis for the bill that was rolled into SB7066 projected a need

for 21 additional employees to process the increased workload. 127 The estimate

was almost surely too low. But the Legislature allocated no funds for additional

employees, and the Division has hired none.

         As of the time of trial, the Division has 85,000 pending registrations of

individuals with felony convictions—registrations in need of screening for murder


125
      Id. The Division uses an unreliable website to assess other states’ laws.
126
      See id. at 8-9.
127
      Pls.’ Ex. 313, ECF No. 349-14 at 27.



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and sexual offenses, for custody or supervision status, and for unpaid LFOs. 128 In

the 18 months since Amendment 4 was adopted, the Division has had some false

starts but has completed its review of not a single registration. Indeed, while the

Division has worked on murder and sexual offenses and on custody or supervision

status, the Division has not even begun screening for unpaid LFOs, with this

exception: the Division’s caseworkers have preliminarily screened the 17 named

plaintiffs for unpaid LFOs, and the Division Director has reviewed the work on

some but not all of the 17. None of the 17 is ready to go out.129

         Even without screening for unpaid LFOs, all the Divison’s caseworkers

combined can process an average of just 57 registrations per day. 130 The LFO

work, standing alone, is likely to take at least as long as—probably much longer

than—the review for murder and sexual offenses and for custody or supervision

status. Even at 57 registrations per day, screening the 85,000 pending registrations

will take 1,491 days. At 261 workdays per year, this is a little over 5 years and 8

months. The projected completion date, even if the Division starts turning out work

today, and even if screening for LFOs doesn’t take longer than screening for


128
      Trial Tr., ECF No. 408 at 185-86; Trial Tr., ECF No. 413 at 84.
129
      Trial Tr., ECF No. 408 at 199-200.
130
      Id. at 146, 185-86.



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murders, sexual offenses, custody, and supervision, is early in 2026. With a flood

of additional registrations expected in this presidential election year, the

anticipated completion date might well be pushed into the 2030s. 131

         To be sure, days before the trial began, the Department of State entered into

an interagency agreement with the Florida Commission on Offender Review. The

Commission apparently will provide staffing assistance. But it is unlikely the

assistance will offset the work needed to process LFOs, let alone cut into the work

needed on murder and sexual offenses and custody or probation status. The

Division’s figure of 57 registrations per day is still the best estimate of the overall

processing rate. The State has provided no evidence that, even with the

Commission’s help, it will be able to complete its review of the pending and

expected applications earlier than 2026.132

         The takeaway: 18 months after Amendment 4 was adopted, the Division is

not reasonably administering the pay-to-vote system and has not been given the

resources needed to do so.

                          4. The Deterrent Effect on Registrants

         Because of the State’s failure to administer the pay-to-vote system

reasonably, many affected citizens, including some who owe amounts at issue and


131
      See Trial Tr., ECF No. 388 at 104-05.
132
      See Defs.’ Ex. 168, ECF No. 343-2; see also Trial Tr., ECF No.408 at 147.

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some who do not but cannot prove it, would be able to vote or even to register only

by risking criminal prosecution. It is likely that if the State’s pay-to-vote system

remains in place, some citizens who are eligible to vote, based on the Constitution

or even on the state’s own view of the law, will choose not to risk prosecution and

thus will not vote.

         The State says felons who register in good faith need not fear prosecution

and those who are eligible will not be deterred from registering or voting. The

assertion rings hollow. It is true that a conviction for a false affirmation in

connection with voting requires a showing of willfulness, see Fla. Stat. § 104.011,

and a conviction for illegally voting requires a showing of fraud, see id. § 104.041.

For at least four reasons, though, the State’s confidence that prospective voters will

not be unjustifiably deterred is misplaced.

         First, SB7066 provides immunity from prosecution for those who registered

in good faith between January 8, 2019, when Amendment 4 took effect, and July 1,

2019, when SB7066 took effect. A proposal to add a good-faith provision for other

registrants was rejected. 133




133
   See Rep. Geller, Proposed Amendment 239235 to HB 7089 (2019), available at
https://www.flsenate.gov/Session/Bill/2019/7089/Amendment/239235/PDF.



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         Second, the State’s registration form includes a warning that a false

statement is a felony; the warning omits the statutory requirement for

willfulness.134 Accurate advice of the penalties for submitting a false registration is

proper, indeed required. See 52 U.S.C. § 20507(a)(5). But here the advice is not

complete; an individual attempting to register is told, in effect, that the individual

will have committed a felony if it turns out the individual was not eligible,

regardless of willfulness. The deterrent effect is surely strong on individuals who

have served their time, gone straight, and wish to avoid entanglement with the

criminal-justice system. 135 Indeed, the deterrent effect is surely strong for

individuals who are in fact eligible but are not sure of that fact. That the Director of

the Division of Elections cannot say who is eligible makes clear that some voters

also will not know.

         Third, the record includes evidence that a local official—one whose home

address was protected from public disclosure under Florida law—used her City




134
  See Pls.’ Ex. 35, ECF No. 152-33 (pre-SB7066 registration form); Pls.’ Ex. 36,
ECF No. 152-34 (post-SB7066 registration form); Defs.’ Ex. 169, ECF No. 343-3
(April 17, 2020 draft registration form); Defs.’ Ex. 170, ECF No. 343-4 (April 17,
2020 draft registration form).
135
  See Trial Tr., ECF No. 397 at 73; see also Prelim. Inj. Hr’g Tr., ECF No. 204 at
172, 153.



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Hall address when registering to vote. 136 This was improper but perhaps

understandable; some public officials and law enforcement officers whose jobs

make them vulnerable to retaliation use office addresses for mail and other

purposes. The official was charged and entered into a deferred-prosecution

agreement. In Florida, where any voter can challenge any other voter’s eligibility,

and where a mistake can lead to a prosecution, it is hardly surprising that a felon

who is newly eligible to vote but unsure of the rules would decide not to risk it.

         Fourth, a Supervisor of Elections who advocated voter registration advised

one or more prospective voters who were unsure of their eligibility to submit

registrations so the issues could be addressed. The Secretary of State at that time—

not the current Secretary—sent the Supervisor a strident letter instructing him not

to do this again. 137 This casts doubt on the State’s professed tolerance for good-

faith mistakes or even for good-faith efforts to determine eligibility.

         The takeaway: it is certain that some eligible voters will choose not to vote

because of the manner in which the State has administered—and failed to

administer—the pay-to-vote system.




136
      See Pls.’ Ex. 288, ECF No. 348-25; Pls.’ Ex. 289, ECF No. 286-19.
137
      Pls.’ Ex. 82, ECF No. 152-79.

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                  (5) A Concluding Word on Rational-Basis Scrutiny

         The State’s inability to reasonably administer the pay-to-vote system,

including its inability in many instances even to determine who is eligible to vote

and who is not, renders the pay-to-vote system even more irrational than it

otherwise would be.

         Far from undermining the Eleventh Circuit’s conclusion that the pay-to-vote

system is unconstitutional as applied to those unable to pay, the evidence now

further supports that view and, if anything, calls into question the conclusion that

the system is rational even as applied to those who are able to pay.

         A note is in order, too, about the interplay between this analysis and the

defendants’ assertion in the prior appeal, addressed alternatively in the Eleventh

Circuit’s opinion, that an as-applied challenge to a provision subject to only

rational-basis scrutiny looks not to the specific plaintiffs but to the mine-run of

cases. If that were correct—as set out above, it is not—the conclusion would be

inescapable that the entire pay-to-vote system is unconstitutional, because the

record now shows that the mine-run case is a person who is genuinely unable to

pay. In Jones, the Eleventh Circuit said the State almost conceded the point—that

is, said that if the mine-run case was a person unable to pay, the entire system

would fall. See Jones, 950 F.3d at 814.




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         The State has offered only three justifications for the pay-to-vote system.

The first is the punishment or debt-to-society rationale—that a felon should be

required to satisfy the felon’s entire criminal sentence before being allowed to

vote. But this does not justify requiring payment by those unable to pay, and the

State has itself severely undercut this rationale by adopting the every-dollar

method, under which many felons will be allowed to vote before paying all

amounts due on their sentences.

         The second purported justification is the debt-collection rationale—that the

system provides an incentive to pay the amounts at issue. But one cannot get blood

from a turnip or money from a person unable to pay. And the State has far better

ways to collect amounts it is owed. Moreover, one might well question the

legitimacy of the State’s interest in leveraging its control over eligibility to vote to

improve the State’s financial position.

         The third purported justification is administrative convenience—that the

state should be able to pursue the first two goals efficiently. This third justification

is entirely derivative of the other two; if the debt-to-society and debt-collection

rationales cannot sustain the pay-to-vote system, neither can administrative

convenience. This order will improve, not compromise, the administrability of the

State’s system.




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         The pay-to-vote system does not survive heightened or even rational-basis

scrutiny as applied to individuals who are unable to pay and just barely survives

rational-basis scrutiny as applied even to those who are able to pay.

X. Poll Tax or Other Tax

         The Twenty-Fourth Amendment to the United States Constitution provides

that a citizen’s right to vote in a federal election “shall not be denied or abridged

by the United States or any State by reason of failure to pay any poll tax or other

tax.” The State says the amendment does not apply to felons because they have no

right to vote at all, but that makes no sense. A law allowing felons to vote in

federal elections but only upon payment of a $10 poll tax would obviously violate

the Twenty-Fourth Amendment.

         Florida has not, of course, explicitly imposed a poll tax. The financial

obligations at issue were imposed as part of a criminal sentence. The obligations

existed separate and apart from, and for reasons unrelated to, voting. Every court

that has considered the issue has concluded that such a preexisting obligation is not

a poll tax. See, e.g., Johnson v. Bredesen, 624 F.3d 742, 751 (6th Cir. 2010);

Harvey v. Brewer, 605 F.3d 1067, 1080 (9th Cir. 2010); Thompson v. Alabama,

293 F. Supp. 3d 1313, 1332-33 (M.D. Ala. 2017); Coronado v. Napolitano, No.

cv-07-1089-PHX-SMM, 2008 WL 191987 at *4-5 (D. Ariz. Jan. 22, 2008).




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         This does not, however, end the Twenty-Fourth Amendment analysis. The

amendment applies not just to any poll tax but also to any “other tax.” As the State

has emphasized in addressing Florida’s Amendment 4, “words matter.”138 The

same principle applies to the Twenty-Fourth Amendment. The words “any

. . . other tax” are right there in the amendment.

         There is no defensible way to read “any other tax” to mean only any tax

imposed at the time of voting or only any tax imposed explicitly for the purpose of

interfering with the right to vote. “Any other tax” means “any other tax.” A law

prohibiting citizens from voting while in arrears on their federal income taxes or

state property taxes would plainly violate the Twenty-Fourth Amendment. A state

could not require a voter to affirm, on the voter-registration form or when casting a

ballot, that the voter was current on all the voter’s taxes. The very idea is

repugnant.

         The only real issue is whether the financial obligations now at issue are

taxes. As the Supreme Court has made clear time and again, whether an exaction is

a “tax” for constitutional purposes is determined using a “functional approach,” not

simply by consulting the label given the exaction by the legislature that imposed it.

See, e.g., Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 564-66 (2012)

(collecting cases).


138
      See ECF No. 132 at 32.

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         The Supreme Court has said the “standard definition of a tax” is an

“enforced contribution to provide for the support of the government.” United

States v. State Tax Comm’n., 421 U.S. 599, 606 (1975) (quoting United States v.

La Franca, 282 U.S. 568, 572 (1931)). More recently, the Court has said the

“essential feature of any tax” is that “[i]t produces at least some revenue for the

Government.” Nat’l Fed’n, 567 U.S. at 564 (citing United States v. Kahriger, 345

U.S. 22, 28 n.4 (1953)).

         The plaintiffs say cases like National Federation and Kahriger deal with the

meaning of tax under Article I and thus do not apply to the Twenty-Fourth

Amendment. And indeed, one might well conclude that the definition of a tax

under the Twenty-Fourth Amendment should be as broad as the evil that led to the

amendment’s enactment: the pernicious practice of requiring citizens to pay to

vote. But Article I and Kahriger were in the books when the Twenty-Fourth

Amendment was adopted. The better approach is to read the Twenty-Fourth

Amendment the same way.

         Restitution payable to the private victim of a crime—not to a government—

is intended to compensate the victim, not raise revenue for the government.

Restitution thus lacks the essential feature of a tax. This makes clear that restitution

payable to a private victim is not a tax. And while the issue is perhaps closer, the

result is the same when restitution is payable to a government as a victim.



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Restitution that is payable to the government is intended not to fund government

operations but to reimburse the government for actual losses it has suffered in the

past. In short, restitution is intended to compensate the victim, regardless of the

victim’s identity, and is not a tax.

         For criminal fines, the issue is closer. Fines generate revenue for the

government that imposes them, but the primary purpose is to punish the offender,

not to raise revenue. Fines vary from individual to individual. They are imposed

based on the court’s assessment of culpability, or, in the case of minimum

mandatory fines, based on the legislature’s assessment of culpability.

         In National Federation, the Court did not provide an exhaustive list of

relevant considerations relevant to the functional approach to determining whether

an exaction is a tax. But the Court did address the consideratons that were

important there. One was the size of the exaction; a “prohibitory” charge is likely a

penalty, while a modest charge is more likely a tax. Id. at 565-66. A second

consideration is scienter; punishment is more likely to be imposed on those who

intentionally break the law. Id. at 565-66. A third consideration is who enforces the

exaction—whether a taxing authority or agency with responsibility to punish those

who violate the law. Id. at 566.

         These same considerations are instructive here. Fines vary in amount from

case to case, but they are often substantial or, in the language of National



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Federation, “prohibitory.” Id. at 566. Unlike fees or costs, fines ordinarily are

imposed only on those who are adjudged guilty, almost always of an offense that

requires scienter. And the amount of a fine is determined by the sentencing

authority, that is, by the judge in the criminal case. In sum, under a functional

analysis, fines are criminal penalties, not taxes.

         The same is not true for the many categories of fees routinely assessed

against Florida criminal defendants. Florida has chosen to pay for its criminal-

justice system in significant measure through such fees. 139

         The fees are sometimes denominated “costs,” though they are not court costs

of the kind routinely assessed in favor of the party who prevails in litigation.

Whether an assessment is labeled a fee or cost makes no relevant difference, as

demontstrated by SB7066 itself. The statute first says “all terms of sentence”

includes “fines or fees,” leaving out costs. Fla. Stat. § 98.0751(2)(a)5.b. But in the

next sentence, the statute says the covered amounts do not include “fines, fees, or

costs” that accrue after the date the obligation is ordered as part of the sentence. Id.

§ 98.0751(2)5.c. Nobody has attributed any significance to the omission of “costs”




139
   See Fla. Const., art. V, § 14 (providing that all funding for clerks of court must
be obtained through fees and costs, with limited exceptions); see also Trial Tr.,
ECF No. 396 at 34-35.


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from the first of these provisions. For convenience, this opinion sometimes refers

to all such charges as “fees.”

         Every criminal defendant who is convicted, and every criminal defendant

who enters a no-contest plea of convenience or is otherwise not adjudged guilty but

also not exonerated, is ordered to pay such amounts. 140 In one county, for example,

the fees total at least $668 for every defendant who is represented by a public

defender and $548 for every defendant who is not, and more if there are multiple

counts.141

         There is no controlling authority, and very little authority at all, addressing

the question whether assessments like these are “other taxes” within the meaning

of the Twenty-Fourth Amendment. The most persuasive discussion of the issue is

in a dissenting opinion. See Johnson v. Bredesen, 624 F.3d 742, 770-72 (6th Cir.

2010) (Moore, J., dissenting). The statute at issue there required felons to pay

restitution and child support before being reenfranchised. The court held these

were not taxes—a holding fully consistent with the analysis set out above. Judge

Moore noted, though, that the state took a 5% fee for processing child-support

payments, and she asserted this fee was an “other tax” prohibited by the Twenty-

Fourth Amendment. The reasoning applies much more persuasively to the fees at


140
      See Trial Tr., ECF No. 396 at 25, 27-28, 77-78, 97.
141
      See Trial Tr., ECF No. 396 at 23-24.

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issue here, which are not merely fees for processing payments on assessments that

are not themselves taxes; the fees at issue here have been directly levied by, and

are paid in full to, state governmental entities.142

         In any event, the National Federation factors favor treating the fees assessed

in Florida as taxes, not penalties. For most categories of fees, the amount is fixed,

and with rare exceptions, the amount is comparatively modest, certainly not

“prohibitory.” Most fees and costs are assessed without regard to culpability; a

defendant adjudged guilty of a violent offense ordinarily is assessed the same

amount as a defendant who is charged with a comparatively minor nonviolent

offense, denies guilt, pleads no-contest, and is not adjudged guilty. The amount of

a given fee, while nominally imposed by the judge, is ordinarily determined by the

Legislature. And the fees are ordinarily collected not through the criminal-justice

system but in the same way as civil debts or other taxes owed to the government,

including by reference to a collection agency.

         In sum, the fees are assessed regardless of whether a defendant is adjudged

guilty, bear no relation to culpability, and are assessed for the sole or at least

primary purpose of raising revenue to pay for government operations—for things




142
   Less persuasively, Judge Moore also asserted restitution payable to the state as a
victim was an “other tax.” This order does not accept that view.

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the state must provide, such as a criminal-justice system, or things the state

chooses to provide, such as a victim-compensation fund. A tax by any other name.

         If a state chose to fund its criminal-justice system by assessing a $10 fee

against every resident of the state, nobody would doubt it was a tax. Florida has

chosen to fund its criminal-justice system by assessing just such a fee, but to assess

it not against all residents but only against those who are alleged to have

committed a criminal offense and are not exonerated. As a measure designed to

raise revenue to fund the government, this would be a tax even if exacted only

from those adjudged guilty. The result is made more clear by the state’s exaction of

the fee even from those not adjudged guilty.

         If, as the Supreme Court held in National Federation, the government’s

assessment of $100 against any person choosing not to comply with the legal

obligation to obtain conforming health insurance is a tax, a larger assessment

against a person who is charged with but not adjudged guilty of violating some

other legal requirement is also not a tax, at least when, as in Florida, the purpose of

the assessment is to raise money for the government. And if a fee assessed against

a person who is not adjudged guilty is a tax, then the same fee, when assessed

against a person who is adjudged guilty, is also a tax.

         The Twenty-Fourth Amendment precludes Florida from conditioning voting

in federal elections on payment of these fees and costs. And because the Supreme



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Court has held, in effect, that what the Twenty-Fourth Amendment prescribes for

federal elections, the Equal Protection Clause requires for state elections, Florida

also cannot condition voting in state elections on payment of these fees and costs.

XI. Race Discrimination

         The Gruver plaintiffs assert a claim of race discrimination. This order sets

out the governing standards and then turns to the claims and provisions at issue.

          A. The Governing Standards

         To prevail on a claim that a provision is racially discriminatory, a plaintiff

must show that race was a motivating factor in the provision’s adoption. See, e.g.,

Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252 (1977);

Washington v. Davis, 426 U.S. 229 (1976). A racially disparate impact is relevant

to the question whether race was a motivating factor, but in the absence of racial

motivation, disparate impact is not enough.

         If race was a motivating factor, the defendant may still prevail by showing

that the provision would have been adopted anyway, even without the improper

consideration of race. See, e.g., Mt. Healthy City Bd. of Educ. v. Doyle, 429 U.S.

274, 287 (1977); see also Hunter v. Underwood, 471 U.S. 222, 228 (1985).

         B. Amendment 4

         The plaintiffs make no claim that race was a motivating factor in the voters’

approval of Amendment 4. The amendment was intended to restore the right to



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vote to a large number of felons. It was an effort to expand, not contract, the

electorate. Most voters probably were aware that the proportion of African

Americans with felony convictions exceeds the proportion of whites with felony

convictions—this is common knowledge. But if anything, the voters’ effort was to

restore the vote to African American felons, as well as all other felons, not to

withhold it.

         C. The Florida Supreme Court Ruling

         The plaintiffs also do not assert the Florida Supreme Court was motivated by

race when it issued its advisory opinion holding that “all terms of sentence,” within

the meaning of Amendment 4, include financial obligations.

         D. SB7066

         The plaintiffs do assert that SB7066 was motivated by race. The State makes

light of the argument, asserting that SB7066 merely implements Amendment 4,

and that SB7066, like Amendment 4, expands, not contracts, the electorate. But

that is not so. SB7066 includes many provisions that go beyond Amendment 4

itself, including some that limit Amendment 4’s reach in substantial respects.

Amendment 4 had already expanded the electorate; SB7066 limited the expansion.

         The State also offers lay opinion testimony that key legislators were not

motivated by racial animus—testimony that would not be admissible over




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objection, proves nothing, and misses the point.143 It is true, and much to the

State’s credit, that the record includes no evidence of racial animus in any

legislator’s heart—no evidence of racially tinged statements, not even dog

whistles, and indeed no evidence at all that any legislator harbored racial animus.

         Under Arlington Heights, though, the issue is not just whether there was

racial animus in any legislator’s heart, nor whether there were other reasons, in

addition to race, for a legislature’s action. To establish a prima facie case, a

plaintiff need only show that race was a motivating factor in adoption of a

challenged provision. See Hunter, 471 U.S. at 227-28; see also United States v.

Dallas Cty. Comm’n, 739 F.2d 1529, 1541 (11th Cir. 1984).

         The issue is far more serious than the State recognizes. Indeed, the issue is

close and could reasonably be decided either way.

         Four aspects of SB7066 are adverse to the interests of felons seeking

reenfrachisement and are worthy of discussion here.

         SB7066’s most important provision, at least when it was adopted, defined

“all terms of sentence,” as used in Amendment 4, to include financial obligations.

The Florida Supreme Court later ruled that this is indeed what this phrase means,

rendering this part of SB7066 inconsequential. This does not, however, establish

that the Legislature’s treatment of this issue was not motivated by race.


143
      Meade Dep. Designations, ECF No. 342-1 at 121.

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         When SB7066 was enacted, it was possible, though not likely, that the court

would reach a different result. More importantly, it was possible the court would

not rule on this issue before the 2020 election, and that felons with unpaid financial

obligations would be allowed to register and vote. Indeed, this was already

occurring. Some Supervisors of Elections believed Amendment 4 did not apply to

financial obligations.144 So SB7066’s provision requiring payment of financial

obligations was important.

         SB7066’s second most important provision was probably its treatment of

judicial liens. Florida law allows a judge to convert a financial obligation included

in a criminal judgment to a civil lien. Judges often do this, usually because the

defendant is unable to pay. The whole point of conversion is to take the obligation

out of the criminal-justice system—to allow the criminal case to end when the

defendant has completed any term in custody or on supervision.

         When a defendant’s criminal case is over, and the defendant no longer has

any financial obligation that is part of or can be enforced in the criminal case, one

would most naturally conclude the sentence is complete. The Senate sponsor of




144
    See Trial Tr., ECF No. 393 at 10-11; Barton Dep. Designations, ECF No. 389-2
at 49-50; Earley Dep. Designations, ECF No. 389-3 at 72-73.



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SB7086 advocated this view.145 But the House sponsor’s contrary view prevailed,

and, under SB7066, conversion to a civil lien does not allow the person to vote.146

         This result is all the more curious in light of the State’s position in this

litigation that when a civil lien expires, the person is no longer disqualified from

voting. 147 So the situation is this. The State says the pay-to-vote system’s

legitimate purpose is to require compliance with a criminal sentence. When the

obligation is removed from the criminal-justice system, the person is still not

allowed to vote. But when the obligation is later removed from the civil-justice

system—when the civil lien expires—the person can vote. Curious if not

downright irrational.

         In any event, it cannot be said that on the subject of civil liens, SB7066

simply followed Amendment 4.

         The third SB7066 provision that bears analysis is the registration form it

mandates. The form is indefensible, provides no opportunity for some eligible




145
    See, e.g., Pls.’ Ex 400, ECF No. 351-28; see also Pls.’ Ex. 893, ECF No. 286-13
at 47-48.
146
      See Pls.’ Ex. 893, ECF No. 286-13 at 47-48; see also Fla. Stat. § 98.0751.
147
      See Trial Tr., ECF No. 408 at 84-85, 144; Trial Tr., ECF No. 413 at 16-17.



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felons to register at all, and is sure to discourage others. 148 It is so obviously

deficient that its adoption can only be described as strange, as was the

Legislature’s failure to correct it after the State was unable to defend it in any

meaningful way in this litigation and actively sought a legislative cure.

         The fourth aspect of SB7066 that warrants attention is its failure to provide

resources to administer the system the statute put in place. The Legislature was

provided information on needed resources and surely knew that without them, the

system would break down. SB7066 provided no resources.

         SB7066 included many other provisions, some favorable to felons seeking

reenfranchisement.149 The issue on the plaintiffs’ race claim is not whether by

enacting SB7066, the Legislature adopted the only or even the best reading of

Amendment 4 or implemented the amendment in the best possible manner. The

issue is whether the Legislaure was motivated, at least in part, by race.

         SB7066 passed on a straight party-line vote. Without exception, Republicans

voted in favor, and Democrats voted against.150 The defendants’ expert testified


148
  Prelim. Inj. H’rg Tr., ECF No. 204 at 201-04; Prelim. Inj. H’rg Tr., ECF No.
205 at 49-50.
149
   See, e.g., Fla. Stat. §§ 98.0751(2)(a)(5)(d), (e) (allowing a court to modify some
financial obligations).
150
      See Pls.’ Ex. 893, ECF No. 286-13 at 87.



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that felon reenfrachisment does not in fact favor Democrats over Republicans.151

He based this on studies that might or might not accurately reflect the situation in

today’s Florida and might or might not apply to felons with unpaid LFOs as

distinguished from all felons. What is important here, though, is not whether the

LFO requirement actually favors Democrats or Republicans, but what motivated

these legislators to do what they did.

            When asked why, if reenfranchisement has no partisan effect, every

Republican voted in favor of SB7066 and every Democrat voted against, the

State’s expert suggested only a single explanation: legislators misperceived the

partisan impact.152 As he further acknowledged, it is well known that African

Americans disproportionately favor Democrats. 153 He suggested no other reason

for the legislators’ posited misperception and no other reason for the straight party-

line vote.

            This testimony, if credited, would provide substantial support for the claim

that SB7066 was motivated by race. If the motive was to favor Republicans over

Democrats, and the only reason the legislators thought these provisions would

accomplish that result was that a disproportionate share of affected felons were


151
      Trial Tr., ECF No. 402 at 113-14.
152
      See id. at 117-18.
153
      Id.

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African American, prohibited racial motivation has been shown. See, e.g., Hunter

v. Underwood, 471 U.S. 222, 233 (1985); N. Carolina State Conference of NAACP

v. McCrory, 831 F.3d 204, 226-27 (4th Cir. 2016). The State has not asserted the

Legislature could properly consider party affiliation or use race as a proxy for it

and has not attempted to justify its action under Hunt v. Cromartie, 526 U.S. 541,

551 (1999) (noting that a state could engage in political gerrymandering, “even if it

so happens that the most loyal Democrats happen to be black Democrats and even

if the State were conscious of that fact”).

         Parenthetically, it bears noting that the expert’s explanation is troublesome,

even apart from its racial implications. See, e.g., Anderson v. Celebrezze, 460 U.S.

780, 793 (1983) (“As our cases have held, it is especially difficult for the State to

justify a restriction that limits political participation by an identifiable political

group whose members share a particular viewpoint, associational preference, or

economic status.”).

         Before turning to the contrary evidence, a note is in order about two items

that do not show racial motivation.

         First, the House sponsor of SB7066 emphatically said during legislative

debate that the bill was simply a faithful implementation of Amendment 4—in

effect, “nothing to see here.” This is not true. SB7066 included much that was not

in Amendment 4, even as later construed by the Florida Supreme Court. The



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plaintiffs say this “faithful steward” argument was a pretext to hide racial

motivation. And the plaintiffs are correct that pretextual arguments often mask

prohibited discrimination. But there are other, more likely explanations for the

sponsor’s argument. It was most likely intended simply to garner support for

SB7066 and perhaps to avoid a meaningful discussion of the policy choices baked

into the statute. The argument says nothing one way or the other about the policy

choices or motivation for the legislation.

         Second, the House sponsor also said during debate that he had not sought

information on racial impact and had not considered the issue at all. The plaintiffs

say this shows willful blindness to the legislation’s obvious racial impact and was

again a pretext for racial discrimination. Properly viewed, however, the sponsor’s

statement does not show racial motivation. It probably shows only an awareness

that a claim of racial discrimination was possible, perhaps likely, and a reasonable

belief that, if the sponsor requested information on racial impact, the request would

be cited as evidence of racial bias. See, e.g., McCrory, 831 F.3d at 230 (citing the

request for and use of data on race in support of a finding of intentional race

discrimination in voting laws). And while any suggestion that the sponsor did not

know SB7066 would have a racially disparate impact could reasonably be labeled

pretextual, that is not quite what the sponsor said. On any fair reading, the

sponsor’s assertion was simply that race should not be a factor in the analysis—an



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entirely proper assertion. The statement says nothing one way or the other about

whether perceived partisan impact was a motivating factor for the legislation,

about whether the perceived partisan impact was based on race, or about whether

race was thus a motivating factor in the passage of SB7066.

          In sum, the plaintiffs’ race claim draws substantial support from the

inference—in line with the testimony of the State’s own expert—that a motive was

to support Republicans over Democrats, coupled with the legislators’ knowledge

that SB7066 would have a disparate impact on African Americans, who vote for

Democrats more often than for Republicans. The plaintiffs’ other evidence adds

little.

          There are also other explanations for these SB7066 provisions, as well as

evidence inconsistent with the inference of racial motivation.

          First, a substantial motivation for the SB7066 definition of “all terms of

sentence” was the belief that this is what Amendment 4 provides. This was not a

pretext to hide racial motivation. Indeed, as it turns out, the view was correct. The

Florida Supreme Court has told us so.

          Second, while it is less clear that SB7066’s treatment of judicial liens was

based on an honest belief that this is what Amendment 4 requires, it is also less

clear that this was an effort to favor Republicans over Democrats or that the only

reason for believing this provision would have that effect was race.



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            Third, while the SB7066 registration form is indefensible, there is no reason

to believe this was related to race. A more likely explanation is inattention or

shoddy craftsmanship or perhaps lack of concern for felons of all races.

            Fourth, there is no reason to believe the failure to provide resources was

based on race. A more likely explanation is budgetary.

            More importantly, there are other provisions in SB7066 that promote, rather

than restrict, reenfranchisement. SB7066 provides that to be reenfranchised, a felon

need not pay financial obligations that are not included in the four corners of the

sentencing document or that accrue later. 154 SB7066 allows courts to modify

sentences to eliminate LFOs if specific conditions are met.155 And of less

significance—it provides a remedy that, if not entirely illusory, will rarely

matter—SB7066 authorizes courts to allow defendants to satisfy LFOs through

community service.156 These provisions would not have made it into SB7066 if the

only motivation had been to suppress votes or to favor Republicans over

Democrats.

            On balance, I find that SB7066 was not motivated by race.

            A note is in order, too, about the limited effect of this finding.


154
      Fla. Stat. § 98.0751(2)(a), (2)(a)(5)(c).
155
      Id. § 98.0751(2)(a)(d), (e).
156
      Id.

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         A contrary finding for the SB7066 definition of “all terms of sentence”

would make no difference, for two reasons. First, for this provision, the State

would prevail on its same-decision defense; the Florida Supreme Court’s decision

now makes clear the State would read “all terms of sentence” to include financial

obligations, with or without SB7066. Second, striking this part of SB7066 as

racially discriminatory would make no difference—the Florida Supreme Court’s

decision would still be controlling.

         A contrary finding for SB7066’s treatment of judicial liens would make a

difference—judicial liens would be excepted from the LFO requirement. But the

difference might not be much. LFOs are usually converted to civil liens when an

individual is unable to pay. This order will end discrimination against those unable

to pay—and thus will render the SB7066 treatment of judicial liens much less

important.

         A contrary finding for the SB7066 registration form would make no

difference. As set out below, the form violates the National Voter Registration Act

and will be enjoined for that reason.

         And finally, even with a contrary finding for SB7066’s failure to provide

resources to administer the pay-to-vote system, the remedy would not be an order

to provide more resources. This order’s remedy on other claims will mitigate, but

by no means cure, the pay-to-vote system’s administrative train wreck. The remedy



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that would be imposed based on a finding of racial discrimination would do

nothing more.

         The bottom line: the plaintiffs have not shown that race was a motivating

factor in the enactment of SB7066.

XII. Gender Discrimination

         The McCoy plaintiffs assert the pay-to-vote requirement discriminates

against women in violation of the Fourteenth Amendment’s Equal Protection

Clause and violates the Nineteenth Amendment, which provides that a citizen’s

right to vote “shall not be denied or abridged . . . on account of sex.”

         To prevail under the Fourteenth Amendment, the plaintiffs must show

intentional gender discrimination—that is, the plaintiffs must show that gender was

a motivating factor in the adoption of the pay-to-vote system. This is the same

standard that applies to race discrimination, as addressed above.

         The plaintiffs assert the Nineteenth Amendment should be read more

liberally, but the better view is that the standards are the same. The Nineteenth

Amendment was an effort to put women on the same level as men with respect to

voting, just as the Fifteenth Amendment was an effort to put African American

men on the same level as white men. Indeed, the Nineteenth Amendment copied

critical language from the Fifteenth, which provides that a citizen’s right to vote

“shall not be denied or abridged . . . on account of race, color, or previous



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condition of servitude.” As is settled, a claim under the Fifteenth Amendment

requires the same showing of intentional discrimination as the Fourteenth

Amendment’s Equal Protection Clause. See, e.g., Burton v. City of Belle Glade,

178 F.3d 1175, 1187 n.8 (11th Cir. 1999) (stating “vote dilution, vote denial, and

traditional race discrimination claims arising under the Fourteenth and Fifteenth

Amendments all require proof of intentional discrimination”). In sum, there is no

reason to read the Nineteenth Amendment differently from the Fifteenth.

         On the facts, the plaintiffs’ theory is that women with felony convictions,

especially those who have served prison sentences, are less likely than men to

obtain employment and, when employed at all, are likely to be paid substantially

less than men. 157 The problem is even worse for African American women. This

pattern is not limited to felons; it is true in the economy at large.

         As a result, a woman with LFOs is less likely than a man with the same

LFOs to be able to pay them. This means the pay-to-vote requirement is more

likely to render a given woman ineligible to vote than an identically situated man.

         This does not, however, establish intentional discrimination. Instead, this is

in effect, an assertion that the pay-to-vote requirement has a disparate impact on

women. For gender discrimination, as for race discrimination, see supra Section

IX, disparate impact is relevant to, but without more does not establish, intentional


157
      See Pls.’ Ex. 895, ECF No. 318-2; Pls’ Ex. 896, ECF No. 318-1.

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discrimination. Here there is nothing more—no direct or circumstantial evidence of

gender bias, and no reason to believe gender had anything to do with the adoption

of Amendment 4, the enactment of SB7066, or the State’s implementation of this

system.

         Moreover, the pay-to-vote requirement renders many more men than women

ineligible to vote. This is so because men are disproportionately represented among

felons. As a result, even though the impact on a given woman with LFOs is likely

to be greater than the impact on a given man with the same LFOs, the pay-to-vote

requirement overall has a disparate impact on men, not women. Even if disparate

impact was sufficient to establish a constitutional violation, the plaintiffs would not

prevail on their gender claim.

XIII. Excessive Fines

         The Eighth Amendment prohibits imposition of “excessive fines.” The

provision applies to the states. See Timbs v. Indiana, 139 S. Ct. 682 (2019). The

McCoy plaintiffs assert LFOs, when used as a basis to deny eligibility to vote,

violate this provision.

         At first blush, the assertion seems farfetched. Any fine at issue was imposed

at the time of sentencing, usually long ago. The fine was within the statutory limit

unless something went badly wrong, and there is no evidence of that. If there was a

basis to assert the fine was an excessive punishment for the offense of



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conviction—there probably was not—the assertion presumably would have been

made at the time of sentencing or on direct appeal or at the latest in a collateral

proceeding. It is almost surely too late to bring a federal challenge, and a challenge

would properly be made in a separate proceeding addressing the criminal

judgment, not as part of a voting case.

         On closer examination, there is more to the claim. A fine that was

unobjectionable when entered, as the plaintiffs’ fines presumably were, would not

have been deemed constitutionally excessive standing alone. What makes the fine

excessive, in the plaintiffs’ view, is the effect it did not have when entered but

acquired only when the State adopted the pay-to-vote system. It is one thing to

impose a fine that requires payment of money. It is quite another to impose a fine

that, in effect, disqualifies the offender from voting.

         On balance, this order holds that a state does not violate the Excessive Fines

Clause by refusing to reenfranchise a felon who chooses not to pay a fine that the

felon has the financial ability to pay. This order need not and does not address the

question whether the Excessive Fines Clause prohibits a state from refusing to

reenfranchise a felon based on a fine the felon is unable to pay. As set out above,

doing that is unconstitutional anyway, on other grounds.




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XIV. Due Process

            The Raysor, Gruver, and McCoy plaintiffs assert that even if the State can

properly condition restoration of the right to vote on payment of LFOs, the manner

in which the State has done so violates the Due Process Clause. The argument has

two parts: the plaintiffs assert the governing standards are impermissibly vague and

that the State has provided no constitutionally adequate procedure for determining

whether an individual meets the standards.

            The arguments carry considerable force. As set out above, determining the

amount that must be paid to make a person eligible to vote is sometimes easy,

sometimes hard, sometimes impossible. 158 In 18 months since Amendment 4 was

adopted, the State has done almost nothing to address the problem—nothing, that

is, except to jettison the most logical method for determining whether the required

amount has been paid and substituting a bizarre method that no prospective voter

would anticipate and that doesn’t solve the problem. 159 The flaws in Florida’s

approach are especially egregious because a person who claims a right to vote and

turns out to be wrong may face criminal prosecution. 160




158
      See supra Section IX.C(4).
159
      Id.
160
      Id.

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         The Due Process Clause “requires that a penal statute define the criminal

offense with sufficient definiteness that ordinary people can understand what

conduct is prohibited and in a manner that does not encourage arbitrary and

discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 351, 357 (1983); see

also Johnson v. United States, 135 S. Ct. 2551 (2015). Florida law makes it a crime

to submit a false affirmation in connection with voting, Fla. Stat. § 104.011, or to

fraudulently vote, see id. § 104.041. These provisions are clear enough on their

face. But in the absence of eligibility standards “that ordinary people can

understand”—standards that can be applied to known or knowable facts—the

clarity of the statutory words is meaningless. See Giacco v. Pennsylvania., 382

U.S. 399, 402-03 (1966) (“It is established that a law fails to meet the requirements

of the Due Process Clause if it is so vague and standardless that it leaves the public

uncertain as to the conduct it prohibits or leaves judges and jurors free to decide,

without any legally fixed standards, what is prohibited and what is not in each

particular case.”).

         The State says its system comports with procedural due process because a

person who registers to vote has a right to a hearing before being removed from the

roll. The Supervisor of Elections in the county at issue conducts the hearing and

renders a decision. A person who is dissatisfied with the result is entitled to de

novo judicial review.



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         If the process was available to all who wish to register, and if the

Supervisors had the resources to conduct the required hearings for all comers, the

process would easily satisfy due process. See, e.g., Mathews v. Eldridge, 424 U.S.

319, 335 (1976) (setting out a framework for determining what process is due in a

given circumstance); J.R. v. Hansen, 736 F.3d 959, 966 (11th Cir. 2015) (same).

But this process is available only to a person who is able to register in the first

place. A person cannot invoke this process at all if the person is unable or

unwilling to register because the person is uncertain of eligibility and unwilling to

risk prosecution.

         The State says such a person can request an advisory opinion from the

Division of Elections and that this will satisfy due process.161 Indeed, the State says

that a person who requests an advisory opinion on eligibility to vote and acts in

accordance with the opinion is immune from prosecution under the criminal

statutes at issue.162 It is not at all clear that the Florida statutes on which the State

relies for these assertions actually so provide, but this order accepts the State’s

construction of its statutes.

         If implemented in a timely manner with adequate, intelligible notice, the

advisory-opinion procedure and attendant immunity will satisfy due process and


161
      See Fla. Stat. § 106.23(2); Trial Tr., ECF No. 408 at 91-94, 100-03, 197-98.
162
      Trial Tr., ECF No. 408 at 91-94, 100-03.

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remedy the vagueness attending application of the criminal statutes. This order

requires adequate, intelligible notice and timely responses to requests for advisory

opinions. Even in the absence of a ruling for the plaintiffs on the vagueness and

procedural-due-process claims, the same requirements would be included in the

remedy for the constitutional violation addressed in section IX above.

XV. The Organizations’ Claims

         An organization that engages in voter-registration activities may assert its

own constitutional rights relating to that process. See, e.g., Arcia v. Fla. Sec’y of

State, 772 F.3d 1335, 1341-42 (11th Cir. 2014); Fla. State Conference of NAACP

v. Browning, 522 F.3d 1153, 1164-66 (11th Cir. 2008). The League of Women

Voters conducts voter-registration efforts but has curtailed them because of the

pay-to-vote system, its breadth (including its application to those unable to pay),

the lack of clear standards for determining eligibility to vote, and the additional

confusion created by the State’s flailing implementation of the pay-to-vote system.

The League has curtailed its activities in part because it does not wish to subject

voters to a risk of prosecution and does not wish to risk the League’s reputation by

signing up individuals who may ultimately be deemed ineligible. 163




163
      See Trial Tr., ECF No. 396 at 173-80.


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         One example of the injury the League has suffered is this: the League

created an entire continuing education program on the pay-to-vote sysem, but the

program became outdated when the State changed from the actual-balance method

to the every-payment method for determining whether a felon’s LFOs have been

paid.164 The State’s uncertain, shifting implementation of the program has

interfered with the League’s associational rights and has caused the League to

divert substantial resources from other endeavors. The League has registered fewer

voters than it would have in the absence of the State’s constitutional violations.

         The Florida State Conference of the NAACP and the NAACP Orange

County Branch have standing to assert the rights of their members, some of whom

have been directly impacted by the State’s constitutional violations. For example,

Mr. Bryant, a member of the Orange County Branch, was constitutionally entitled

to vote but did not do so in the March 2020 primary, not wishing to risk

prosecution. 165 In addition, the State Conference, if not the Orange County Branch,

has diverted resources and suffered injuries similar to the League’s.166 The

organization has reached out to and registered fewer voters than it otherwise would

have.


164
      See id. at 175-76, 191-92.
165
      Trial Tr., ECF No. 397 at 73.
166
      See, e.g., Trial Tr., ECF No. 397 at 19, 32-37.

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         These rulings ultimately make no difference in the remedy that this order

would put in place anyway, based only on the claims of the individual plaintiffs

and the certified class and subclass. That remedy is sufficient to redress the

organizations’ claims.

XVI. The National Voter Registration Act

         The Gruver and Raysor plaintiffs assert the State has violated the National

Voter Registration Act in two respects: by using an improper voter registration

form and by allowing different counties to apply different standards in determining

eligibility to vote.

         The State asserts all the individual plaintiffs but one, Mr. Bryant, lack

standing to challenge the registration form because they registered to vote using a

different form, not the one they now challenge. And the State asserts the Raysor

plaintiffs did not wait the statutorily required period after giving the notice that

must precede an NVRA claim. The State also contests the claim on the merits.

         The State’s procedural objections do not bar the claim.

         Mr. Bryant used the challenged registration form.167 In addition, the

organizational plaintiffs have members who have used or will use the form if it is

not enjoined. Indeed, Mr. Bryant is himself a member of the NAACP Orange



167
      Trial Tr., ECF No. 397 at 69-71.


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County Branch. Mr. Bryant and the organizational plaintiffs have standing to

challenge the form. The other individual plaintiffs lack standing to challenge the

form, but this is inconsequential. And in any event, all the plaintiffs have standing

to challenge the inconsistent application of the pay-to-vote system from one county

to another.

         The NVRA creates a private right of action but requires advance notice and

an opportunity to cure during a specified period. See 52 U.S.C. § 20510(b)(1). The

original Gruver plaintiffs, including the organizational plaintiffs, gave notice to the

proper official, the Florida Secretary of State. See Fla. Stat. § 97.012(9) (naming

the Secretary the chief election officer). 168 The State did not cure the alleged

violations within the specified period, so litigation could go forward. The State has

not contested the claims of Mr. Bryant and the organizations based on the notice-

and-cure provision.

         The Raysor plaintiffs also gave notice but did so later, and they filed their

NVRA claim before expiration of the cure period, as measured from the date of

their notice. This makes no difference. The State had already been provided the

required opportunity to cure and had chosen not to do so. Properly construed, the

statute does not require multiple notices of the same alleged violation and multiple

opportunites to cure. The Gruver plaintiffs’ notice thus was sufficient to allow the


168
      See Pls.’ Ex. 841, ECF No. 360-2.

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Raysor plaintiffs’ claims to go forward. See, e.g., Calloway v. Partners Nat’l

Health Plans, 986 F.2d 446, 449-50 (11th Cir. 1993) (allowing one employee to

rely on another employee’s timely notice of a Title VII claim based on the “single-

filing rule”); Ass’n of Community Orgs. For Reform Now v. Miller, 129 F.3d 833,

838 (6th Cir. 1997) (allowing one party to rely on another party’s NVRA notice).

Contra Scott v. Schedler, 771 F.3d 831 (5th Cir. 2014).

         On the merits, the plaintiffs are correct that the registration form mandated

by SB7066 violates the NVRA. So do the later forms the State has floated as

possible replacements. The chronology helps explain this.

         The old form—the form in effect before SB7066—had a single relevant

statement: “I affirm that I am not a convicted felon, or if I am, my rights relating to

voting have been restored.” See Fla. Stat. § 97.052(2)(t) (2018). This provided all

the information that needed to be on the form.

         SB7066 made a hash of this. Gone was the old, easily understood statement.

In its place were three checkboxes; the registrant had to choose one. See Fla. Stat.

§ 97.052(2)(t) (2019). The first box was for nonfelons: “I affirm I have never been

convicted of a felony.” The second and third boxes were for felons. The second:

“If I have been convicted of a felony, I affirm my voting rights have been restored

by the Board of Executive Clemency.” The third: “If I have been convicted of a

felony, I affirm my voting rights have been restored pursuant to s. 4, Art. VI of the



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State Constitution upon the completion of all terms of my sentence, including

parole or probation.”

         The new form is objectionable at several levels. There is no reason to require

a registrant who is eligible to vote to disclose a nondisqualifying felony to the local

Supervisor of Elections. In any event, few if any registrants are likely to know that

Amendment 4 is now “s. 4, Art. VI” of the State Constitution. 169 Worse, an

individual with an out-of-state felony conviction who would be eligible to vote in

the state of conviction is eligible to vote in Florida. 170 But such an individual has

no box to check on the registration form. 171

         Perhaps more importantly, there is no reason—other than perhaps to

discourage felons from registering—for the multiple boxes. As the Director of the

Division of Elections has acknowledged, the State makes no use of the additional

information; a registration on the new form is processed precisely the same way as




169
      Prelim. Inj. Hr’g Tr., ECF No. 204 at 202-03.
170
    Trial Tr., ECF No. 408 at 81-82; see also Schlenther v. Dep’t of State, Div. of
Licensing, 743 So. 2d 536, 537 (Fla. 2d DCA 1998) (“Once another state restores
the civil rights of one of its citizens whose rights had been lost because of a
conviction in that state, they are restored and the State of Florida has no authority
to suspend or restore them at that point.”).
171
      Prelim. Inj., Hr’g Tr., ECF No. 205 at 50.



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a registration on the old form.172 The new form thus runs afoul of the NVRA’s

mandate that a voter registration form require only such identifying and other

information “as is necessary to enable the appropriate State election official to

assess the eligibility of the applicant and to administer voter registration and other

parts of the election process.” 52 U.S.C. § 20508(b)(1); see also id.

§§ 20504(c)(2)(B) & 20505(a)(2).

         Amendments to the statute prescribing the registration form were proposed

but not adopted during the Legislature’s 2020 session.173 On the first day of trial, in

an attempt to deal with this issue, the State proposed a rule with a new form that

adds a checkbox for out-of-state felons.174 But the form still would require

information that would have no effect on the processing of registrations; the form

thus would still violate the NVRA.

         During the trial, the State floated yet another possible form, this one with yet

another new checkbox: “If I have been convicted of a felony, I affirm that I have

completed all terms of my sentence except any financial obligations I am



172
    See Trial Tr., ECF No. 408 at 134; see also Brown Dep. Designations, ECF No.
at 389-5 at 115; Trial Tr., ECF No. 393 at 25.
173
      See Trial Tr., ECF No. 413 at 75-76.
174
      See Defs.’ Ex. 169, ECF No. 343-3; see also Pls.’ Ex. 919, ECF No. 384-1.



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genuinely unable to pay.”175 This is commendable to some extent; it is at least an

effort—the first—to deal with the preliminary injunction and affirmance in Jones,

which occurred months earlier. But the new box is deficient on its face; it could be

honestly checked by an individual with a conviction for murder or a sexual offense

who is ineligible to vote.176

         The State has tendered no legitimate reason to dispense with the old

registration form and no new registration form that complies with the NVRA.

         In addition to their complaint about the registration form, the plaintiffs say

the State’s failure to provide guidance to the county Supervisors of Elections will

cause different eligibility standards to be applied in different counties. The

plaintiffs say this will violate the NVRA requirement for voter rolls that are

“uniform” and “nondiscriminatory.” 52 U.S.C. § 20507(b)(1).

         This is a substantial complaint, but it need not be addressed at this time. The

remedy that this order puts in place anyway, based on the other violations,

substantially reduces the risk that different eligibility standards will be applied in

different counties, rendering this risk speculative.




175
      Defs.’ Ex. 170, ECF No. 343-4; see also Trial Tr., ECF No. 408 at 137-40.
176
      Trial Tr., ECF No. 408 at 139-41.


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         In sum, the organizational plaintiffs and Mr. Bryant are entitled to prevail on

their NVRA claim based on the noncompliant registration form.

XVII. Bush v. Gore

         The plaintiffs say the different eligibility standards in different counties will

violate not only the NVRA but also the equal-protection principle established by

Bush v. Gore, 531 U.S. 98 (2000). Here, as under the NVRA, this is a substantial

claim. But here, for the same reasons as for the NVRA, the claim need not be

addressed at this time.

XVIII. Severability

         The State makes the rather remarkable assertion that if it cannot prevent

people who are unable to pay LFOs from voting, then all of Amendment 4 must

fall—that even felons who have served all their time, are off supervision, and have

paid all amounts they owe cannot vote. This is a breathtaking attack on the will of

the Florida voters who adopted Amendment 4.

         The State says this is a severability issue, and perhaps it is. But LFOs are not

mentioned in Amendment 4 at all. At least on one view, there is nothing to sever.

Even on that view, however, the same issues are part of the remedy analysis. Either

way, the critical issue is the proper remedy for the unconstitutional application of

Amendment 4 to a subset of affected individuals. The remedy must be properly

matched to the violation.



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         The State relies on Ray v. Mortham, 742 So. 2d 1276 (Fla. 1999). There the

Florida Supreme Court addressed a voter-initiated amendment to the Florida

Constitution imposing term limits. The amendment had specific language listing

the offices to which it applied. Some were state offices, some federal. The attempt

to impose limits on eligibility for federal offices violated the United States

Constitution, so the question was whether the explicit but unconstitutional

language in the amendment addressing federal offices should be severed from the

explicit and constitutional language addressing state offices. This was a classic

severability issue—whether, after striking invalid language, the amendment’s other

language remained valid. The court held the provisions severable—thus upholding

the will of the voters who adopted the amendment, to the extent consistent with the

United States Constitution.

         On the other hand, in the federal cases holding state actions unconstitutional

as applied to those unable to pay, severability was not discussed at all. See, e.g.,

M.L.B. v. S.L.J., 519 U.S. 102 (1996); Bearden v. Georgia, 461 U.S. 600 (1983). In

those cases, just as here, a state provided a benefit it was not constitutionally

obligated to provide at all, but providing the benefit to those who could pay while

denying the benefit to those unable to pay was unconstitutional. The proper remedy

was to make the benefit available to those unable to pay. This was so because,

under the circumstances, ending the discrimination by making the benefit available



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to those unable to pay was the proper exercise of equitable discretion. This was not

framed as a severability issue, but the result would have been the same if it had

been.

         In any event, the question of whether this is properly framed as a

severability issue or only as a remedy issue makes no difference; the substantive

analysis is the same either way. The critical issue is whether, if the unconstitutional

applications of the amendment are enjoined, it is still reasonable to apply the

remainder of the amendment, and whether, if the voters had known the amendment

would be applied only in this manner, they still would have approved it.

         The answer is yes. I find as a fact that voters would have approved

Amendment 4 by more than the required 60% had they known it would be applied

in the manner required by this order. I would make this same finding regardless of

which side has the burden of proof.

         The voters’ primary motivation plainly was to restore the vote to deserving

felons at the appropriate time—to show a measure of forgiveness and to welcome

even felons back into the electorate. The sentiment is hardly surprising.

Forgiveness is a sentiment that appeals to most voters and has long been a

mainstay of the state’s most popular religions. And taxation without representation

led a group of patriots to throw lots of tea into a harbor when there were barely




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united colonies, let alone a United States. Before Amendment 4, no state

disenfranchised as large a portion of the electorate as Florida.

         That did not mean, however, that voters were in a mood to immediately

reenfranchise everyone. The proponents of the amendment learned from focus

groups and polling that some voters were not as favorably disposed toward the

worst offenders or toward those who were still in jail or on supervision. There was

even a fleeting reference to restitution. The amendment was drafted to exclude

those convicted of murder or sexual offenses and to require completion of all terms

of sentence including probation and parole. In that form the amendment went

before the voters and garnered 64.55% of the vote.

         The State says the focus groups and polling show that payment of LFOs,

including by those unable to pay, was critical to passage of the amendment. They

even presented expert testimony to support the assertion. 177 I do not credit the

testimony. Indeed, one in search of a textbook dismantling of unfounded expert

testimony would look long and hard to find a better example than the cross-

examination of this expert.178 The State’s assertion that voters understood

“completion of all terms of sentence” to mean payment of fines, fees, costs, and


177
  See Trial Tr., ECF No. 402 at 103-111, 123-29; see also Defs.’ Ex. 66, ECF No.
346-1. The expert was Dr. Michael Barber.
178
   See id. at 129-98. I credit the testimony of the plaintiffs’ expert who responded
to Dr. Barber. The plaintiffs’ expert was Dr. Todd Donovan.

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restitution by those unable to pay and that this was critical to passage of the

amendment is fanciful.

         The focus groups and polling were conducted years before Amendment 4

was on the ballot. None were conducted, at least as shown by this record, in a

scientifically reliable manner. None are reliable indicators of the change in the

margin that would have been caused by a change in Amendment 4’s wording or

coverage.

         More importantly, none of the focus groups and polling dealt separately with

financial obligations. There were only fleeting references to these, and only in

tandem with completion of all terms in prison or on supervision. The focus groups

and polling did not address inability to pay at all. They provided no information on

how a requirement to pay fines, fees, or costs, or even restitution, would have

affected the vote, let alone how a requirement for payment by those unable to pay

would have affected the vote.

         The materials available to voters in advance of the election, whether in

sample ballots or public-service materials of from proponents or in the media,

included very few references to financial obligations, and fewer still to anything

other than restitution. 179 Amendment 4 itself, as well as the summary on the ballot,


179
   See Pls.’ Ex. 886, ECF No. 360-43 at 11-27; Trial Tr., ECF No. 413 at 112-43;
Pls.’ Ex. 893, ECF No. 286-13 at 27-44.


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included no explicit reference to financial obligations, let alone to ability or

inability to pay. 180 Amendment 4 was part of a long ballot with many proposed

amendments; it is unlikely that many voters considered financial obligations at all,

let alone inability to pay.

         There is also another fundamental flaw in the State’s analysis. For the

requirement to pay the LFOs at issue to be critical to a voter’s decision, the voter

would need at least some understanding of LFOs—of who owes them and why and

why they have not been paid. But very few voters had this information.

         Surely very few Florida voters knew that every Florida felony conviction

results in an order to pay hundreds of dollars in fees and costs intended to fund the

government, even when the judge does not choose to impose a fine as part of the

punishment and there is no victim to whom restitution is owed. Surely very few

Florida voters knew that fees and costs were imposed regardless of ability to pay,

that the overwhelming majority of felons who would otherwise be eligible to vote

under Amendment 4 owed amounts they were unable to pay, and that the State had

no ability to determine who owed how much. Had voters known all this, they

might, as the State posits, have decided to scrap the whole thing. But the chance of

that is remote. It is far more likely, and I find, that voters would have adhered to




180
      See Defs.’ Ex. 15, ECF No. 148-15 at 9.

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the more generous spirit that led to the passage of the amendment, even if it meant

that those who had done all they could do but were unable to pay some remaining

amount became eligible to vote.

         Striking the entirety of Amendment 4 would be a dramatic departure from

what the voters intended and from what they would have done had they known of

the federal constitutional limits on the amendment’s application.

XIX. Remedy

         The remedy for a constitutional violation is committed to the court’s sound

discretion. The remedy should be clear, as easily administered as feasible, and no

more intrusive than necessary on a defendant’s lawful prerogatives. See Lemon v.

Kurtzman, 411 U.S. 192, 200 (1973) (“Moreover, in constitutional adjudication as

elsewhere, equitable remedies are a special blend of what is necessary, what is fair,

and what is workable.”) (footnote omitted).

         This order grants declaratory and injunctive relief commensurate with the

violations addressed above.

         The injunction takes the State up on its suggestion that individuals who are

unsure of their eligibility status can simply request an advisory opinion from the

Division of Elections. The injunction prescribes a form that may be used for

requesting an advisory opinion and requires the Secretary of State and Supervisors

of Elections to make the form available both in hard copy and online.



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         The injunction provides, in effect, that an advisory opinion cannot rely on

unconstitutional grounds for asserting ineligibility. The injunction sets no deadline

for the Division to provide an advisory opinion—there is no deadline under state

law—but the injunction allows an individual to go forward with registration and

voting after 21 days, unless and until the Division provides an advisory opinion

showing ineligibility.

         The injunction takes the State up on its suggestion that a person who acts in

accordance with an advisory opinion may not be prosecuted for doing so. The

injunction goes further and allows a person to rely on the Division’s failure to

provide an advisory opinion within 21 days. The injunction of course does not

reach nonparties and thus does not bind the various state attorneys, but the

injunction prohibits these defendants from contributing to such a prosecution.

         The injunction prescribes a method for determining inability to pay. In

effect, the injunction provides a rebuttable presumption based on facts that are

objectively determinable without undue difficulty and that, in the overwhelming

majority of cases, correlate with genuine inability to pay. The injunction does not

limit the reliable information on which the State may base an assertion that an

individual is able to pay—but when the presumption applies, the injunction does

require reliable information to rebut it. This goes further than the preliminary




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injunction, which left to the State wide discretion to devise a system for addressing

inability to pay. With ample time to address the issue, that State did nothing.

         A class member may proceed based on the presumption and in reliance on

this order without requesting an advisory opinion. An advisory opinion is an

option, not a requirement.

         Under the injunction, to show that an LFO is disqualifying, an advisory

opinion must set out the amount of the LFO. It is not enough just to provide an

estimate or to say the amount is at least some given amount. The reason is this. If

the person is unable to pay, the LFO is not disqualifying, so the requirement to set

out the amount of the LFO makes no difference. If the person is able to pay, the

State must tell the person the amount that must be paid—no more (because

requiring the person to pay more as a condition of voting would plainly be

unconstitutional) and no less (because the point is to allow the person to make the

required payment).

         In short, the remedy will allow prospective voters to determine whether they

have LFOs, at least to the extent that is possible at all; will allow them to vote if

they are otherwise eligible but have LFOs they are unable to pay; will reduce

though not eliminate the risk of unfounded prosecutions; and will allow much

easier and more timely administration than the system the State now has in place.




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         This last point is important. Recall that under its current system, the Division

of Elections determines, for every person who submits a registration, whether the

person has one or more felony convictions. For each conviction, the Division must

find the judgment, determine whether it was for murder or a sexual offense,

determine whether the person is in prison or on supervision, calculate the total

amount of LFOs, and find every payment that has been made not only on an LFO

but for any other purpose related to the conviction. The State surely has an interest

in administering as efficiently as possible the procedures designed to prevent

ineligible individuals from voting—the procedures that check for convictions of

murder and sexual offenses and for individuals who are in prison or on

supervision, not just for individuals with LFOs. Because the Division lacks

sufficient staff to perform these duties in a reasonable time—as set out above, the

Division is on track to complete the process by 2026 even without the added LFO

procedures—every minute saved on LFOs is a minute that becomes available to

review for murders, sexual offenses, prison, and supervision. Every minute

available for those purposes increases the chance that ineligible individuals will be

removed from the rolls—a goal that those on all sides should embrace.

         The time saved by the remedy put in place by this order will be substantial.

Most felony sentences do not include a fine or restitution. So in most cases, the

Division will need to do nothing more on LFOs than review the judgment to



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confirm there is no fine or restitution. In the remaining cases—the cases with a fine

or restitution—the overwhelming majority of felons will be unable to pay. Based

on this order, the Division will be able to quickly determine that the person has

made an adequate showing of inability to pay, and the Division will rarely have a

basis to challenge that showing. This will end the required work on LFOs.

         This remedy is far better than the current system in another respect as well.

The State proposes to push onto the Supervisors of Elections much of the work

related to LFOs. Thus, for example, the State says the plaintiffs’ procedural-due-

process claim is unfounded because a voter is entitled to a hearing before the

Supervisor of Elections on issues that include whether LFOs have been paid and

whether the voter is unable to pay them. This would place an impossible burden on

the Supervisors—a burden that the remedy provided by this order eliminates in all

but the rarest of cases.

         The remedy is by no means perfect. The pay-to-vote system will still make

voter-registration efforts more difficult than they would be without the LFO

requirement and will still deter at least some eligible citizens from registering and

voting. Administering the pay-to-vote system will still be difficult, take too long,

and consume too many Division of Elections resources. The remaining problems

would be remedied if the entire pay-to-vote requirement, as applied to those who




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are able to pay as well as those who are not, was ruled unconstitutional. The

plaintiffs have fallen just short of such a ruling.

XX. Conclusion

         This order is intended to resolve all claims among all parties and to grant all

the relief to which the plaintiffs are entitled. The order includes an injunction,

directs the clerk to enter a Federal Rule of Civil Procedure 58 judgment, and

reserves jurisdiction to enforce the injunction and judgment. For the reasons set out

in Jones v. Governor of Florida, 950 F.3d 795 (11th Cir. 2020), and in this order,

         IT IS ORDERED:

         1. These five cases are consolidated for all purposes. All filings must be

made in the consolidated electronic case file, No. 4:19cv300.

         2. It is declared that the Florida pay-to-vote system is unconstutional in part:

              (a) The system is unconstitutional as applied to individuals who are

otherwise eligible to vote but are genuinely unable to pay the required amount.

              (b) The requirement to pay, as a condition of voting, amounts that are

unknown and cannot be determined with diligence is unconstitutional.

              (c) The requirement to pay fees and costs as a condition of voting is

unconstitutional because they are, in substance, taxes.




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              (d) The requirement to pay a determinable amount of fines and restitution

as a condition of voting is not unconstitutional as applied to those who are able to

pay.

         3. The defendants must not take any step to enforce any requirement

declared unconstitutional in paragraph 2 above.

         4. The Secretary must make available in hard copy and online a form for

requesting an advisory opinion from the Division of Elections substantially in the

form of Attachment 1 to this order, subject to formatting and nonsubstantive

modifications including, for example, addition of an address to which the request

should be sent. This order refers to this as “the required form.”

         5. Each defendant Supervisor of Elections must make available at each

office and must post online a notice of the right to request such an advisory opinion

from the Division of Elections. The Supervisor must make the required form

available in hard copy and online, either directly or by link to a state website.

         6. If (a) within 21 days after receipt of a request for an advisory opinion

using the required form that includes a request for a statement of the amount of any

fine or restitution that must be paid to make the requesting person eligible to vote,

(b) the Division of Elections does not provide an advisory opinion that includes the

requested statement of the amount that must be paid together with an explanation

of how the amount was calculated, then (c) the defendants must not take any step



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to prevent, obstruct, or deter the requesting person from registering to vote and

voting, (d) except on grounds unrelated to unpaid financial obligations, (e) unless

and until the Division of Elections provides an advisory opinion that includes the

requested statement of the amount that must be paid together with an explanation

of how the amount was calculated.

         7. If (a) within 21 days after receipt of a request for an advisory opinion

using the required form that asserts inability to pay, (b) the Division of Elections

does not provide an advisory opinion that asserts the requesting person is able to

pay and provides a factual basis for the assertion, then (c) the defendants must not

take any step to prevent, obstruct, or deter the requesting person from registering to

vote and voting, (d) except on grounds unrelated to unpaid financial obligations.

         8. If (a) within 21 days after receipt of a request for an advisory opinion

using the required form, (b) the Division of Elections does not provide an advisory

opinion showing the person is ineligible to vote, then (c) the defendants must not

take any step to cause or assist a prosecution of the requesting person for

registering to vote and voting, (d) based on anything the requesting person does

before the Division of Elections provides an advisory opinion that shows the

person is ineligible to vote, (e) except on grounds unrelated to financial obligations

the State asserts the person must pay as a condition of voting.




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         9. For purposes of paragraphs 7 and 8, an assertion by the Division of

Elections that a person is able to pay will have no effect—and paragraphs 6 and 7

will be applied as if the Division of Elections had made no such assertion—if (a)

the requesting person had an appointed attorney or was granted indigent status in

the last proceeding that resulted in a felony conviction, or (b) the person submitted

with the request for an advisory opinion a financial affidavit that, if submitted in

connection with a felony proceeding in a Florida circuit court, would be sufficient

to establish indigent status under Florida Statutes § 27.52, or (c) all financial

obligations that would otherwise disqualify the person from voting have been

converted to civil liens, unless (d) the Division of Elections has credible and

reliable information that the requesting person is currently able to pay the financial

obligations at issue.

         10. This order does not require any person to request an advisory opinion.

The defendants must not take any step to prevent, obstruct, or deter a named

plaintiff or member of the subclass from registering to vote or voting, except on

grounds unrelated to unpaid financial obligations, if (a) the person had an

appointed attorney or was granted indigent status in the last proceeding that

resulted in a felony conviction, or (b) the person submits a financial affidavit that,

if submitted in connection with a felony proceeding in a Florida circuit court,

would be sufficient to establish indigent status under Florida Statutes § 27.52, or



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(c) all financial obligations that would otherwise disqualify the person from voting

have been converted to civil liens, unless (d) the Division of Elections or

Supervisor of Elections in the person’s home county has credible and reliable

information that the requesting person is currently able to pay the financial

obligations at issue.

         11. The Secretary must make available in hard copy and online a statement

of rules governing eligibility to vote after a felony conviction substantially in the

form of Attachment 2 to this order.

         12. Each defendant Supervisor of Elections must post at its offices and

online a statement of rules governing eligibility to vote after a felony conviction

substantially in the form of Attachment 2 to this order.

         13. It is declared that financial obligations do not render these individuals

ineligible to vote: Jeff Gruver, Emory Marquis Mitchell, Betty Riddle, Karen

Leicht, Kristopher Wrench, Raquel L. Wright, Steven Phalen, Jermaine Miller,

Clifford Tyson, Latoya A. Moreland, Curtis D. Bryant, Bonnie Raysor, Diane

Sherrill, Lee Hoffman, Rosemary Osborne McCoy, and Sheila Singleton.

         14. The defendants must not take any action based on financial obligations

to prevent, obstruct, or deter the individuals listed in paragraph 13 from registering

to vote or voting.




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         15. It is declared that fees and costs do not render Keith Ivey ineligible to

vote.

         16. The defendants must not take any action based on fees or costs to

prevent, obstruct, or deter Keith Ivey from registering to vote or voting. This does

not preclude action based on any unpaid fines.

         17. It is declared that Florida Statutes § 97.052(2)(t) (2019) violates the

National Voter Registration Act. The defendants must not use a form based on that

statute.

         18. The claims of the plaintiffs Kelvin Leon Jones and Luis Mendez are

dismissed without prejudice. Their exclusion from the class and subclass is

withdrawn, so they are now members if they meet the class and subclass

definitions.

         19. The declaratory and injunctive relief provided by this order runs in favor

on the remaining named plaintiffs, including individuals and organizations, and the

members of the certified class and subclass.

         20. The declaratory and injunctive relief provided by this order and by the

judgment that will be entered based on this order bind the defendants and their

officers, agents, servants, employees, and attorneys—and others in active concert

or participation with any of them—who receive actual notice of the injunctive

relief by personal service or otherwise.



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         21. The court retains jurisdiction to enforce the declaratory and injunctive

relief and the judgment that will be entered based on this order.

         22. It is determined under Local Rule 54.1 that the plaintiffs in Nos.

4:19cv301, 4:19cv302, and 4:19cv304 are entitled to recover attorney’s fees.

Under Local Rule 54.2, these plaintiffs are entitled to recover costs. Rules 54.1 and

54.2 will govern further proceedings to determine the amount of the fee and cost

awards, except that the deadline for the plaintiffs’ filings under Rule 54.1(E) and

for a bill of costs under Rule 54.2 is 30 days after (a) the deadline for filing a

notice of appeal from the judgment on the merits, if no appeal is filed, or (b) if an

appeal is filed, the date of issuance of the mandate of the United States Court of

Appeals for the Eleventh Circuit affirming the judgment or dismissing the appeal.

No motion to determine the fee amount and no bill of costs may be filed prior to

the resolution of any appeal (or, if no notice of appeal is filed, prior to the

expiration of the deadline for filing a notice of appeal).

         23. The clerk must enter judgment in the consolidated case in favor of the

plaintiffs in Nos. 4:19cv301, 4:19cv302, and 4:19cv304, as set out in this order,

and dismissing without prejudice the claims in Nos. 4:19cv272 and 4:19cv300. The

judgment must include the names of all parties and the class and subclass




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definitions and must explicitly retain jurisdiction to enforce the injunction and

judgment.

         SO ORDERED on May 24, 2020.

                                         s/Robert L. Hinkle
                                         United States District Judge




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